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                               PURCHASE AGREEMENT
                           COMPANY DISCLOSURE SCHEDULE


                                                                               SECTION 6.11


                                         Section 6.11
                     Violations of any laws by Company or Subsidiaries

              None, except for any laws which may be violated by virtue of any default in the
 Note, the Operative Agreements, MarGasCo Credit Agreement and/or Syenergy Credit
 Agreement, and/or the Partnership Agreements of Syenergy Pipeline, LP and its Affiliated
 Entities, which violations may arise out of this Purchase Agreement, the transactions related
 hereto, including all transactions disclosed in the Schedules & Exhibits hereto and related
 transactions.




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                               PURCHASE AGREEMENT
                            COMPANY DISCLOSURE SCHEDULE


                                                                                   SECTION 6.12


                                          .
                                              Sectioffl 6.12
                                        Title tto Properties

               1.    As referred to in Schedules 6.8, certain Easements and Rights of Way
 associated with the saleof certain contracts in September and November of 1996 ("Sales
Contracts" and "Closing Agreement") to KN Energy, Inc. ("KN"), and KN Interstate Service
Transmission Co. ("KNT') were retained by KPC's predecessors, KPP, Riverside and/or Bishop
Pipeline Company as to the rights of way for natural gas lines in addition to the first line laid by
KNI and/or KN.

              2.      The Company is in the process of assigning these retained rights from
Bishop Pipeline Company, Riverside and KPP to KPC. The Company is in the process of
complying with its obligations regarding said easements as set forth in those Sales Contracts and
the Closing Agreement, as well as seeking the compliance ofKN and KNI regarding the same.


            3;     All liens, encumbrances, mortgages, deeds of trust, financing statements,
UCC's and security interests securing the Note, the Syenergy Credit Agreement and the
MarGasCo Credit Agreement, or otherwise described as the Security Documents or Operative
Agreements in the Note.




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                                   PURCHASE AGREEMENT
                               COMPANY DISCLOSURE SCHEDULE


                                                                                 SECTION 6.13


                                             Section 6.13
                                  List of all Employee Benefit Plans



 1.         HMO and PPO Medical Insurance provided by Blue Cross and Blue Shield of Kansas
            City; Group Policy No. 146490000001.

2.          Dental Insurance provided by Guarantee Life Insurance Company; Group Policy No. 01-
            D002316

3.          Kansas Pipeline Company 401(k) Plan Contract I.D. number 91 652407 with Equitable
            Life Insurance, Momentum Select Administrative Services

4.          Life and Accidental Death & Dismemberment Insurance provided by Business Men's
            Assurance Company of America, Group Policy No. BGGR090614.

5.          Long Term Disability Insurance provided by UNUM Life Insurance Company of
            America; Group Policy No. 0511983

6.          Vision Insurance provided by Vision Service Plan, Group Policy No. 12 119645 0001
            0001

7.          Section 125 Plan consisting of Flexible Spending Benefit and Dependent Care Spending
            provided by Benefit America Group Policy No. 261438


8.          Voluntary Products in Section 125 Plan provided by Colonial Insurance Company Group
            BCN No. E7189749-0000.




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                                    PURCHASE AGREEMENT
                                COMPANY DISCLOSURE SCHEDULE


                                                                                       SECTION 6.17


                                               Section 6.17
                                         Year 2000 Compatibility


                   Company defines Year 2000 compliance as the following:

                   The capability of a system to provide all of the following functions:

                   (a) handle date information before, during and after January 1, 2000,
including but not limited to accepting date input, providing date output and performing
calculations on dates or portions of dates;

                 (b) function accurately and without interruption before, during and after
January 1,2000, without any change in operations associated with the advent of the new century;

                 (c)        respond to two-digit year-date input in a way that resolves the ambiguity
as to century in   a   disclosed, defined and predetermined manner, and

                 (d)       store and provide output of date information in ways that are unambiguous
as to century.


               Company has accessed its internal systems and devices and feel confident that
they meet the above definition, however. Company's systems and devices, like that of any other
service company has potential for problems created by other systems outside of the company.
Therefore, Company cannot represent, warrant or guarantee that Company will be unaffected by
the Year 2000 problem. Company is currently accessing that impact on our services. In light of
that. Company has developed contingency plans in the event there is such an occurrence.




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                                PURCHASE AGREEMENT
                            COMPANY DISCLOSURE SCHEDULE


                                                                                  SECTION 6.18


                                           Section 6.18
              List of all material gas sales, purchase, and transportation contracts
                                       (the Gas Contracts)

 Gas Purchase Agreement between Greeley Gas Company and Kansas Pipeline Company, L.P-,
 dated July 20, 1989 and amendments and exhibits thereto, if any.

 Gas Sales and Purchase Agreement between Kansas Pipeline Partnership and United Cities Gas
 Company dated December 17,1992 and amendments and exhibits thereto, if any.

Natural Gas Sales Agreement between United Cities Gas Co. and MarGasCo Partnership dated
April 20, 1993 and amendments and exhibits thereto, if any.

Rate Schedule SCT-NN Small Customer Transportation Contract No. 110199   103100-1 SCT-
                                                                              -




NN dated March 23, 1999 between Kansas   Pipeline Company and Greeley Gas Company, and
Amendments and Exhibits thereto, if any.

Riverside I Agreement dated between Missouri Gas Energy, a division of Southern Union
Company and Riverside Pipeline Company, L.P. dated February 24, 1995 and amendments and
exhibits thereto, if any.

Mid-Kansas II Firm Gas Purchase Contract between Missouri Gas Energy, a division of Southern
Union Company and Mid-Kansas Partnership dated February 24, 1995 and amendments and
exhibits thereto, if any.

Gas Purchase Agreement between The Kansas Power and Light Company and Kansas Natural
Partnership dated October 3, 1991 and amendments and exhibits thereto, if any.

Gas Transportation Service Agreement between The Kansas Power and Light Company and
Kansas Natural Partnership dated October 3, 1991 and amendments and exhibits thereto, if any.

Form of Service Agreement Rate Schedule FT Contract No. FT 91-10-01 between Riverside
Pipeline Company, L-P. and The Kansas Power and Light Company dated October 3, 1991 and
amendments and exhibits thereto, if any.

Gas Transportation Service Agreement between The Kansas Power and Light Company and
KansOk Partnership dated October 3, 1991 and amendments and exhibits thereto, if any.




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 Gas Transportation Service Agreement between The Kansas Power and Light Company and
 Kansas Pipeline Partnership dated October 3,1991 and amendments and exhibits thereto, if any.

 Gas Transportation Service Agreement between Kansas Power and Light Company and Kansas
 Natural Partnership dated October 3,1991 and amendments and exhibits thereto, if any.

 Form of Service Agreement Rate Schedule FT Contract No. FT-91-10-01 between Riverside
 Pipeline Company, L.P. and The Kansas Power and Light Company dated October 3, 1991 and
 amendments and exhibits thereto, if any.

 Gas Transportation Service Agreement between Kansas Power and Light Company and KansOk
 Partnership dated October 3, 1991 and amendments and exhibits thereto, if any.

 Gas Purchase Agreement between The Kansas Power and Light Company and Kansas Pipeline
 Company, L.P. dated August 8,1988 and amendments and exhibits thereto, if any.

Finn Gas Purchase Contract (Paola and Osawatomie, Kansas) between Western Resources, Inc.
and Kansas Pipeline Partnership dated February 28, 1995 and amendments and exhibits thereto,
if any.

Firm Gas Purchase Contract (Ottawa, Kansas) between Western Resources, Inc. and Kansas
Pipeline Partnership dated February 28, 1995.

Firm Gas Purchase Contract (Johnson and Wyandotte Counties, Kansas) between Western
Resources, Inc. and Kansas Pipeline Partnership dated February 28, 1995.

Gas Transportation Service Agreement between Western Resources, Inc. and Kansas Pipeline
Partnership dated February 28,1995.


Amended and Restated Agreement of Lease and Amended and Restated Operating Agreement
between TransOk, Inc., and KansOk Partnership dated April 24, 1992 and amendments and
exhibits, thereto.

Settlement Agreement between Transok, LLC, KansOk Partnership. Kansas Pipeline Company,
Bishop Pipeline Company, MarGasCo Partnership, Kansas Natural and KansOk, Inc. dated
April 1, 1999, and amendments and exhibits thereto.

Rate Schedule     Interruptible Transportation Service Form of Transportation Agreement
                     IT
Contract No. 060198-053100-2-IT between Kansas Pipeline Company. L.P. and Greeley Gas
Company, a Division ofAtmos Energy Corporation dated June 1, 1998, and amendments and
exhibits thereto.

Rate Schedule        IT Interruptible Transportation   Service Form   of Transportation Agreement
Contract No. 060198-053100-3-IT between Kansas Pipeline Company, L.P. and United Cities
Gas Company, a Division ofAtmos Energy Corporation dated June I, 1998, and amendments
and exhibits thereto.




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 Rate Schedule   IT Interruptible Transportation Service Form of Transportation Agreement
 Contract No. 060198-053100-1-IT between Kansas Pipeline Company, L.P. and MarGasCo
 Partnership dated June 1,1998, and amendments and exhibits thereto.

 Rate Schedule   IT Interruptible Transportation Service Form of Transportation Agreement
 Contract No. 090198-083100-1-IT between Kansas Pipeline Company, L.P. and Oneok Gas
 Marketing Company dated September 1,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Alien Press dated November 23,
 1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Alvamar Country Club dated
 September 7,1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and American Camper dated
October 21,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Aramark dated April 27, 1999,
and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Asphalt Plant Sales dated
April 21, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Auto Plaza Car Wash dated
January 12,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and B & G Plating dated July 9,
1998. and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and BDP d/b/a Duds n Suds dated
October 22, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Barbour Concrete dated
April 4, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Beveriy Health and
Rehabilitation dated September 26, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Brandon Woods Retirement
Community dated January 12,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Brannon Sand & Gravel
dated May 22, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Brown Cargo Van dated
December 31,1996, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and CINTAS dated June 8, 1998,
and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Cargill dated September 24,
1999. and amendments and exhibits thereto.




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 Natural Gas Sales Contract between Petro Source Gas Ventures and Century Concrete dated
 January 16,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Chronicle Publishing
 (KAKE TV) dated December 8,1997, and amendments and exhibits thereto.
 Natural Gas Sales Contract between MarGasCo Partnership and Claflin Fanners Coop dated
 February 17,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Coffey County Hospital
 dated November 3,1997, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Coleman Company dated
 November 21,1997, and amendments and exhibits thereto.
 Natural Gas Sales Contract between MarGasCo Partnership and Colgate Palmolive dated
 September 10,1996, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Continental Cast Stone dated
 March 10,1999, and amendments and exhibits thereto.
Natural Gas Sales Contract between Petro Source Gas Ventures and Cooper, Inc. a/k/a Fabric
Care Center dated June 16,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Cornejo & Sons, Inc. dated
September 22,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Country Kitchen dated
April 3, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Crown Automotive dated
March 1, 1999, and amendments and exhibits thereto.
Natural Gas Sales Contract between Petro Source Gas Ventures and Curds Manufacturing dated
January 21,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and DeLine Box dated April 14,
1998. and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Decatur Good Samaritan
Center dated May 14, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Desoto Schools dated July 1,
1999. and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Douglas County           dated
October 14, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Earth Grains Company dated
April 8, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and East Heights United
Methodist dated July 16,1997, and amendments and exhibits thereto.




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 Natural Gas Sales Contract between MarGasCo Partnership and Baton Corporation dated
 September 24,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and El Dorado Correctional dated
 November 19,1998, and amendments and exhibits thereto.
 Natural Gas Sales Contract between MarGasCo Partnership and Elkhart Schools dated June 8,
 1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Ellsworth Correctional dated
 November 19, 1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and FCMP, Inc. dated June 27,
 1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and FMC Corporation dated
 April 3,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Ferroloy Foundry dated
 May 8, 1998, and amendments and exhibits thereto.
Natural Gas Sales Contract between Petro Source Gas Ventures and First Methodist Lawrence
dated February 12,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and First United Methodist ICT
dated February 12, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Fowler Schools dated
January 21, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Fowler Skilled Nursing
dated June 25, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Free State Brewing dated
February 26,1999, and amendments and exhibits thereto.

Natural     Gas   Sales   Contract   between   MaiGasCo   Partnership   and   GNB   Battery   dated
November 19, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and GT Sales & Manufacturing
dated March 16, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Garage Door Group dated
May 18, 1998, and amendments and exhibits thereto.
Natural Gas Sales Contract between MarGasCo Partnership and Garden City Community
College dated December 12,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Tom Gamer dated May 27,
1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Georgia Pacific dated (undated),
and amendments and exhibits thereto.




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 Natural Gas Sales Contract between MarGasCo Partnership and Golf Course Superintendents
 dated September 2,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Good Shepherd Catholic Church
 dated June 30,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Green Thumb Gardens dated
 April 27,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Greensburg Schools dated
 May 23, 1997, and amendments and exhibits thereto.
 Natural    Gas       Contract between MarGasCo Partnership
                  Sales                                          and   Gregory,    Inc.   dated
 December 11, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Hanston Schools dated June 18,
1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Hehr International dated
March 24,1999, and amendments and exhibits thereto.
Natural Gas Sales Contract between MarGasCo Partnership and Hoechst Marion Roussel dated
October 1,1991, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Holliday Sand & Gravel dated
July 1, 1993, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Huff's Gardens dated October 4,
1998. and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Hugoton USD 210 dated June 8,
1999. and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Idaho Timber Corporation
dated March 9, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Immaculata High Schools dated
August 9, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Industrial Chrome. Inc.
dated May 14, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Inland Paperboard & Packaging,
Inc. dated April 7, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and J & P Cattle dated May 1,
1998. and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Jardine-Edison Junior
Academy dated September 16, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and KC Container dated March 8,
1999. and amendments and exhibits thereto.




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 Natural Gas Sales Contract between MarGasCo Partnership and Kansas City, Kansas dated
 August 3,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Kreonite dated June 4, 1999, and
 amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and LMB Corporation a/k/a Mt.
 Oread dated August 11,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Kansas Dept. of Administration
 (Lansing Correctional) dated November 19, 1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Lawrence Housing
 Authority dated August 10,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Lawrence Presbyterian
 Manor dated January 20,1997, and amendments and exhibits thereto.
Natural Gas Sales Contract between Petro Source Gas Ventures and City of Leavenworth dated
October 30, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Lennox Industries dated
October 10, 1996, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Liberal Good Samaritan
Hospital dated June 20,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Liberty Hall dated
February 12, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Liebherr Mining Equipment
dated June 21, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Little Joes Car Wash dated
May 26, 1998, and amendments and exhibits thereto.
Natural Gas Sales Contract between Petro Source Gas Ventures and Lone Tree Retirement dated
July 17, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Lyon County Health Dept.,
dated March 11, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Macon Municipal Utilities dated
April 23, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Maize Schools dated May 3,
1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Corporation and Meade District Hospital dated
September 9, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Meridian Laundry dated
January 27, 1998, and amendments and exhibits thereto.




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 Natural Gas Sales Contract between Petro Source Gas Ventures and Metropolitan Baptist Church
 dated May 1,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Miami County Medical
 Center dated July 1,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Montezuma USD #371 dated
 June 8,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Morrow Foundry dated
 May 27, 1998, and amendments and exhibits thereto.
 Natural Gas Sales Contract between MarGasCo Partnership and College Church of Nazarene
 dated February 1,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Corporation and Omega Concrete dated
 April 16,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and PERG Building (Block Asset)
dated March 5, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Packer Ware dated October 26,
1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Pawhuska Public Schools dated
April 7, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Penny's Concrete dated
August 9, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Petroleum Building dated
December 1, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Phillips Pipeline dated
September 25, 1996, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Phillips Pipeline dated
September 12, 1991, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Phillips Pipeline dated August 1,
1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Phillips Pipeline dated
October 10, 1996, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Phillips Pipeline dated May 6,
1994. and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Players Sport Bar dated
September 13, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Plaza West Care Center
dated December 19, 1996, and amendments and exhibits thereto.




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 Natural Gas Sales Contract between MarGasCo Partnership and Purina Mills dated February 2,
 1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and RACO Car Wash dated
 March 6,1998, and amendments and exhibits thereto.
 Natural Gas Sales Contract between Petro Source Gas Ventures and RSA Microtech (Ruffin)
 dated July 28,1997, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Rainbow Mental Health
 Facility dated May 20,1998, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Rawlins County Health dated
 August 6,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Reuter Organ dated February 16,
 1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between Petro Source Gas Ventures and Riverview Condominium
 dated May 12,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Ron Wright dated June 1, 1999,
and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Roto-Mix dated May 23,
1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Corporation and Satanta District Hospital
dated July 1, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Satanta USD 507 dated June 8,
1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Selling Public Works dated
December 10, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Sisters of St. Joseph dated
August 6, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Standard Motor Products
dated September 11, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Star Lumber and Supply
dated January 13, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Sterling Farmers Coop dated
February 17, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Corporation and Stevens County Hospital
dated June 25, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Sublette Schools dated
June 23, 1998, and amendments and exhibits thereto.




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 Natural Gas Sales Contract between MarGasCo Partnership and Sunrise Garden Center dated
 January 25,1999, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Superior Automotive dated
 November 12,1996, and amendments and exhibits thereto.
 Natural Gas Sales Contract between MarGasCo Partnership and Superior Linens dated
 November 13,1995, and amendments and exhibits thereto.

 Natural Gas Sales Contract between MarGasCo Partnership and Town of Taloga dated
 December 29,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Tamko, Inc. dated
December 22,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Overland Pizza Company
dated January 26,1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Kansas Dept. of Admn.
(Topeka Correctional) dated November 19, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Corporation and Trinity Association dated
July 3,1997, and amendments and exhibits thereto.

Natural     Gas   Sales      between MarGasCo Partnership
                          Contract                               and    Udall   Schools       dated
September 2, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Village Inns of Wichita
dated July 31, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Vivi Public Works dated
December 10, 1998, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and W.W. Manufacturing dated
January 15,1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Wallace Energy dated July 9,
1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Watkins Steel dated June 30,
1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Gas Ventures and Wellington Fanners Coop
dated October 28, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between Petro Source Corporation and Wichita County Health Center
dated August 11, 1997, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership and Williamette Industries dated
August 23, 1999, and amendments and exhibits thereto.

Natural Gas Sales Contract between MarGasCo Partnership         and    Williams Foods dated
February 4, 1999, and amendments and exhibits thereto.




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    Natural Gas Sales Contract between Petro Source Gas Ventures and Youthville United Methodist
    dated May 18, 1998, and amendments and exhibits thereto.

    Petro Source Gas Ventures Agreements and Petro Source Corporation Agreements were acquired
    by MarGasCo Partnership pursuant to an Agreement with Petro Source Corporation dated
    September 22,1998, and amendments and exhibits thereto.



    Miscellaneous Agreements:
    Settlement Agreement between Western Resources, Inc., The Bishop Group, Ltd., Bishop
    Pipeline Company, Kansas Pipeline Operating Company, Kansas Pipeline Partnership, Riverside
    Pipeline Partnership, Mid-Kansas Partnership, Syenergy Pipeline Company, L.P., Riverside
    Pipeline Company, L.P., Citizens' Utility Ratepayer Board and the Staff of the Kansas
    Corporation Commission dated July 9,1997.

    Settlement, Release, Indemnity and Assignment Agreement effective February 24, 1995 between
    Southern Union Company, a division of which is Missouri Gas Energy and each of the following
    entities, jointly and severally: The Bishop Group, Ltd., Bishop Pipeline Company, Kansas
    Natural Partnership, Kansas Pipeline Partnership, KansOk Partnership, Mid-Kansas Partnership,
    Riverside Pipeline Partnership, Riverside Pipeline Company, L.P., Syenergy Pipeline Company,
    L.P., Kansas Pipeline Operating Company and MarGasCo Partnership.
                                                                                  28'11 day
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    Settlement Agreement and Release Linchpin and Wraparound Issues made on the
                                           -
                                                                                            of
    February,  1995 by and between Western Resources, Inc., The Bishop  Group, Ltd., Bishop
    Pipeline Company, Kansas Pipeline Operating Company, Kansas Natural Partnership, KansOk
    Partnership, Kansas Pipeline Partnership, Riverside Pipeline Partnership Mid-Kansas
    Partnership, Syenergy Pipeline Company, L.P., Riverside Pipeline Company, L.P.

                                                                        28'1' day
    Settlement Agreement and Release Regulatory Issues made on the
                                       -
                                                                                  of February, 1995
    by and between Western Resources, Inc. The      Bishop Group, Ltd., Bishop   Pipeline Company,
    Kansas Pipeline Operating Company, Kansas Natural Partnership, KansOk Partnership, Kansas
    Pipeline Partnership, Riverside Pipeline Partnership Mid-Kansas Partnership, Syenergy Pipeline
    Company, L.P., Riverside Pipeline Company, L.P.

    Limited Release of Western Resources to Southern Union Company (1995).




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                               PURCHASE AGREEMENT
                           COMPANY DISCLOSURE SCHEDULE


                                                                                SECTION 6.19


                                          Section 6.19
                 Breaches of any Gas Contracts or written notices from any
             party indicating an intent to rescind or dishonor any Gas Contract

               1.     Section 6.8 "Pending Claims" describing KGS filed lawsuit, which alleges
KPC's breach of the KCC Settlement Agreement and other agreements and requests a monetary
judgment and setting aside all ofKGS's contracts with KPC as a remedy.

               2.       See Section 6.8 "Pending Claims", describing that MGE has indicated to
KPC its belief that the 2% escalator clause under the Mid-Kansas II Agreement and/or the
Riverside I Agreement is no longer applicable.




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                              PURCHASE AGREEMENT
                          COMPANY DISCLOSURE SCB1EBULE


                                                                               SECTION 6.21


                                         Section 63.1
                               Noncompiiance with amy tariff

None, except for those tariff provisions set forth in CP96-152-000 and/or RP99-485-000 and
related dockets which have not yet been adopted by FERC in its current form.




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                         PURCHASE AGREEMENT
                     COMPANY DISCLOSURE SCHEDULE


                                                            SECTION 6.22


                                 Section (S.22
                              Gas Imbalances

                 KPC <$97,282>
                      -




                 MarGasCo <$12,168.60>
                          -




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                                PURCHASE AGREEMENT
                             COMPANY DISCLOSURE SCHEDULE


                                                                                  SECTION 8.1


                                            Section 8.1
                             Exceptions to Ordinary Course Covenants



               1.     Prior to the Closing, the Excluded Assets including certain cash payments
 and other obligations will be distributed to Stockholder as part of a Partial Redemption of
 Stockholder's Shares in The Bishop Group, Ltd.


             2.    Prior to Closing, Management Resources Group, Ltd. will change its name
to Bishop Management, Inc. and assign all rights to the name "Management Resources Group,"
to Stockholder or his designees.


                 3.     Prior to Closing, KPC and/or Syenergy will forgive on its books the
Butcher Interest payment, due to the Holders thereof.

              4.     Prior to or at Closing, (i) KPC and MRG will have executed and,delivered
a Project Development and MRG Interests Agreement, (ii) MarGasCo and MRG will have
executed and delivered a Project Development Agreement (guaranteed by KPC) and (iii) KPC,
MarGasCo and MRG will have executed and delivered an Option Agreement relating to the
agreements described in (i) and (ii).

              5.      Prior to or substantially simultaneous with Closing, Buyer is providing
funds to pay off or cause to be paid off and/or purchase or cause to be purchased the Notes,
Security Documents and/or the Operative Agreements and the Make Whole Premium applicable
thereto and related costs.


               6.    Prior to or at Closing, BGL is partially redeeming certain shares of
Stockholder in BGL in exchange for the distribution of the Excluded Assets to Stockholder.


              7.      Prior to or at Closing, The Bishop Group, Ltd. will change its name to "K-
Pipe Group, Inc." and assign all rights and the name "The Bishop Group, Ltd." to Stockholder or
his designees.


              8.    Prior to or at Closing, K-PC will may have executed and/or delivered a
Purchase Agreement, Management Agreements, Master Interchange Agreements and Owners
Agreements to purchase an interest in a Beechjet 400 airplane not to exceed 25% and a 6.25%
interest in a Hawker 800 airplane.




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                 9.        Any and all terminations of employment contracts and/or consulting
 agreements, or other documents, necessary to cany out the provisions of Schedule 9.2 hereto.

                10.   All other transactions necessary or required to consummate or canyout the
 transactions contemplated by or set forth in the Purchase Agreement and it Schedules and/or
 Exhibits.




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                              PURCHASE AGREEMENT
                          COMPANY DISCLOSURE SCHEDULE


                                                                            SECTION 10.2(d)


                                       Section! 10.2(d)
                               Consents from Secured Lenders


               Consents, waivers and/or releases, required as a result of the transactions
 contemplated by the Purchase Agreement, its Schedules and exhibits and related documents, as
                                                                    ,


well as those described in Section 8.1 of this Company Disclosure Schedule, are needed from the
Noteholders, Chase Manhattan Bank, N.A-, the State Street Bank and Trust Company and the
partners of KPC, MGC, Syenergy, KPP, KOP, Mid-Kansas and Riverside Pipeline Company,
L.P.




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                               STOCK PURCHASE AGREEMENT
                                  SCHEDULE PREAMBLE

                                     Buyer Disclosure Schedule


               This preamble is attached to and made a part of the attached Buyer Disclosure
Schedule, which has been delivered by the Buyer to Dennis M. Langley pursuant to the terms of
the Stock Purchase Agreement dated as of October 25, 1999, by and among such parties (the
"Agreement"), Capitalized terms used but not defined in this Preamble shall have the meaning
given them in the Agreement..


                Any information set forth in the Buyer Disclosure Schedule that is not required to
be disclosed pursuant to the Section of the Agreement to which such Section of the Buyer
Disclosure Schedule relates is provided for informational purposes only and shall not be
construed as expanding or modifying the Buyer's representation or warranty contained therein.


               The disclosure of a particular item or matter in a Section of the Buyer Disclosure
Schedule shall not be construed as an admission by the Buyer that such item or matter falls
within the scope of any materiality threshold or other qualifications or limitations set forth in the
representation or warranty to which section of the Buyer's Disclosure Schedule relates.




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                        PURCHASE AGREEMENT
                     BUYER DISCLOSURE SCHEDULE

                                                            SECTION 7.8


                                  Section 7.8
                      Environmental Laws and Regulations



                                      None




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                         PURCHASE AGREEMENT
                      BUYER DISCLOSURE SCHEDULE

                                                             SECTION 7.9


                                  Section 7.9
                        Compliance with Applicable laws

                                    None




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                                  PURCHASE AGREEMENT
                               COMPANY DISCLOSURE SCHEDULE


                                                                             SECTION 1.1(A)


                                        Schedule l.l(A)
                                       List of Affiliates

 Ownership of 100% of all of the Shares of Common Stock of The Bishop Group, Ltd.

 Ownership of 2,000 Shares Common Stock ofE&C Group, Inc. (100% wholly owned)

 Ownership of 260 Shares Common Stock of The Bishop Corporation by E & C Group, Inc.
 being 100% wholly owned.

Ownership of 76 Shares Common Stock of Bishop Management, Inc., ffkfa Management
Resources Group, Ltd. (100% wholly owned) Note: prior to Closing name was changed to
Bishop Management, Inc. and the right to use "Management Resources Group," shall be assigned
to Stockholder.

Ownership of 1,000 Shares Common Stock of Bishop Pipeline Company (100% wholly owned)

Ownership of 165,000 Shares Common Stock of Bishop Gas Transmission Company by virtue
of Bishop Pipeline Company being 100% wholly owned

Ownership of 1000 Shares Common Stock of Kansas Pipeline Operating Company by Kansas
Pipeline Company. (Corporation was dissolved on October 18, 1999)

Syenergy Pipeline Company, L.P-, a limited partnership consisting of Bishop Pipeline Company
owning a 55.6% general partnership interest and a 33.5% limited partnership interest and by
Bishop Gas Transmission Company owning a 10.9% limited partnership interest.


Kansas Pipeline Company, formerly known as Riverside Pipeline Partnership, a general
partnership consisting of Syenergy Pipeline Company, L.P. owning a 99.9% general partnership
interest and Bishop Pipeline Company owning a .1% general partnership interest.

Riverside Pipeline Company, L.P., a general partnership consisting of Kansas Pipeline Company,
formerly known as Riverside Pipeline Partnership owning a 50% general partnership interest and
Syenergy Pipeline Company, L.P. owning a 50% general partnership interest


Kansas Pipeline Partnership, a general partnership consisting of Syenergy Pipeline Company,
                                                     Bishop Pipeline Company owning a .IVo
L.P. owning a 99.9% general partnership interest and
general partnership interest




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 KansOk Partnership, a general partnership consisting of Syenergy Pipeline Company, L.P.
 owning a 99.9% general partnership interest and Bishop Pipeline Company owning a .1%
 general partnership interest


 Mid-Kansas Partnership, a general partnership consisting of Syenergy Pipeline Company, L.P.
 owning a 99.9% general partnership interest and Bishop Pipeline Company owning a .1%
 general partnership interest

 MarGasCo Partnership, a general partnership consisting of Syenergy Pipeline Company, L.P.
 owning a 99.9% general partnership interest and Bishop Pipeline Company owning a .1%
 general partnership interest.

 Ownership of 99.9% of the limited liability company interests in Bishop Rink Holdings, LLC

 Ownership of 99.9% of the limited liability company interests in KP Operating Company, LLC




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                                                                                        SCHEDULE 1.1B


                                          TAX SHARING AGREEMENT


                           THIS TAX SHARING AGREEMENT (this "Agreement")                   is made as    of
         November        1999 by and among K-Pipe Merger Corporation, a Delaware corporation
                      _,
         ("Buyer") and DENNIS M. LANGLEY ("Stockholder") (Buyer and Stockholder are hereinafter
         sometimes collectively referred to as the "Parties" and individually as a "Party").

                                                      PREMISES

                      WHEREAS, Buyer and Stockholder have entered into a Stock Purchase
         Agreement dated as of October 25, 1999 (the "Stock Purchase Agreement"), whereby the
         Stockholder will sell and transfer 100% of the Common Stock of The Bishop Group, Ltd., a
         Kansas corporation (the "Company") to the Buyer on the terms stated therein; and


                         WHEREAS, Section 1.1 of the Stock Purchase Agreement requires the execution
         and delivery of this Agreement at the Closing provided for in the Stock Purchase Agreement; and

                        WHEREAS, Buyer and the Stockholder intend that this Agreement shall govern
         the Tax matters relevant and necessary for the Stock Purchase Agreement.

                                                  AGREEMENTS

    ,(                  NOW, THEREFORE, in consideration of the Premises and mutual agreements
^        herein contained, the parties agree as follows:

                        Section 1.      Definitions

                        As used in this Agreement, the following terms have the meanings set forth in this
         Agreement. Any capitalized terms not defined herein shall have the meanings ascribed to such
         terms in the Stock Purchase Agreement. All Article and Section numbers used in this Agreement
         refer to Articles and Sections of this Agreement, unless otherwise specifically indicated.

                         "Adverse Consequences" means all debts, obligations, losses, costs of
         investigation and defense, damages, liabilities, claims, judgments, awards, settlements, taxes,
         penalties, fines, assessments and other costs and expenses (including any prejudgment interest in
         any litigated or arbitrated matter) which may be incurred, made or levied; provided, however,
         that such term shall not include any punitive or exemplary damages.

                        "Breach" of a representation, warranty, covenant, obligation or other provision of
         this Agreement, the Stock Purchase Agreement or any instrument delivered pursuant to either
         such agreement will be deemed to have occurred if there is or has been (i) any inaccuracy in or
         breach of, or any failure to perform or comply with, such representation, warranty, covenant,
         obligation or other provision, or (ii) any other occurrence or circumstance that is or was
         inconsistent with such representation, warranty, covenant, obligation or other provision, and the
         term "Breach" means any such inaccuracy, breach, failure, occurrence or circumstance.




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               "Closing Date" shall be the date specified in Article 12. of the Stock Purchase
 Agreement for the Closing of the Transaction.

                  "Income Taxes" means any Tax imposed on or measured by income.

                 "Ordinary Course Tax Liabilities" means the amount as of the Closing Date, of
Tax liabilities that are reflected or reserved against in the books and records of the Company and
its Affiliates.


                  "Other Taxes" means any Taxes other than an Income Taxes.

                  "Post-Closing Tax Period" means any Tax period beginning after the Closing
Date.

                  "Pre-Closing Tax Period" means any Tax period ending on or before the Closing
Date.

              "Pre-Closing Income Tax Liability" means any liability arising or resulting from
Income Taxes imposed on the Company for any Pre-Closing Tax Period.

               "Seller Group" means, collectively, the Stockholder and, at any time before the
Closing, the Transferred Entities.

                  "Stock Purchase Agreement" means the Stock Purchase Agreement described in
the Premises.

                  "Stub Period" means the period from January 1, 1999 through and including the
Closing Date.

                  "Straddle Period" means any Tax period that begins on or prior to and ends after
the Closing Date.


                  "Tax" or "Taxes" means any federal, state, local, or foreign income tax (including
any alternative or add-on minimum tax) or franchise tax, any sales, use, excise, gross receipts or
value added tax, any intangibles tax, any tax resulting from membership in a Tax Group or
departure from a Tax Group, any tax on real or personal property, any profits, capital, premium
occupational, production, severance, ad valorem, occupancy, stamp, transfer, unemployment
insurance, social security, disability, workers' compensation, customs, withholding, or other tax,
duty or similar governmental charge or any deposit required to be made with respect thereto,
including all interest and penalties thereon and additions thereto.

                  "Tax Arbitrator" means a mutually agreeable so-called "Big 5" accounting firm.

                  "Tax Group" means any group of entities that pays, or is required to pay. Tax on a
consolidated, combined, unitary or similar basis.




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                "Tax Return" means any return, declaration, report, claim for refund or
 information retura or statement relating to Taxes, including any schedule or attachment thereto,
 and including any amendment thereof.

                "Tax Sharing Agreement" means any written agreement or arrangement for the
 allocation or payment of Tax liabilities or payment for Tax benefits, including any agreement
 with respect to a consolidated, combined or unitary Tax Return which Tax Return includes the
 Company.

                  "Taxing Authority" means any governmental entity responsible for the imposition
 of Taxes.

               "Transferred Entities" means the Company and its direct and indirect Affiliates
and Subsidiaries.


Terms not set forth in this Section 1.1, but otherwise denned in the body of this Agreement shall
have the specific meanings attributed to them in the text hereof. Terms in the singular shall have
the same meanings when used in the plural and vice versa.


                  Section 2.    Over-Accrual Refunds for Pre-Closing Tax Periods.

               (a)    Stub Period. To the extent the accruals of Ordinary Course Tax Liabilities
(which amounts will be provided to Buyer pursuant to Article V of the Stock Purchase
Agreement) exceed the amount of Taxes owed for the Stub Period, Buyer will refund such
amounts within fifteen (15) days after filing its Federal Income Tax Return or other relevant
return for calendar year 1999. To the extent Buyer directly or indirectly receives a refund of
Income Taxes or other Taxes for any Pre-Closing Tax Period, Buyer will pay such amount to
Stockholder within five (5) business days of the receipt of such amount by Buyer. Buyer will
make all relevant books and records available to Stockholder and his agents to review the
accuracy of any payment (or non-payment) to be made hereunder to the extent the audit by
Stockholder reveals there was an underpayment of amounts owed hereunder by Buyer, Buyer
will pay interest on such underpayment at 18% per annum.

                  Sections.     Buver Tax Liability

                  (a)  Income Tax Liability. Buyer agrees to indemnify the Stockholder against
and holds him harmless from, any liability resulting from (i) Income Taxes imposed on any of
the Transferred Entities for any Post-Closing Tax Period and (ii) all liability for fees, costs and
expenses including reasonable attorneys' fees arising out of or incident to any proceeding before
any Taxing Authority or any judicial authority with respect to any amount indemnifiable under
this Section 3 (a).

               (b)        Other Taxes. Buyer agrees to indemnify Stockholder against and hold him
harmless from  (i) all  Other  Taxes of the Transferred Entities attributable to any Post-Closing Tax
Period, and (ii)  all  liability for fees, costs and expenses including reasonable attorneys' fees




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 arising out of or incident to any proceeding before any Taxing Authority or any judicial authority
 with respect to any amount indemnifiable under this Section 3(b).

                (c)     Return Preparation. The Buyer shall at its expense retain Ernst & Young
 (or other accounting firm acceptable to Stockholder) to prepare and Buyer shall file, or cause to
 be filed, on a timely basis all Tax Returns with respect to the Buyer and any Transferred Entities
for any Post-Closing Tax Period and any Straddle Period. In the case of any Tax Return which
includes a Straddle Period, Buyer shall provide Stockholder with a copy of such pro forma Tax
Return ending on the Closing Date and the basis for the calculation of any such Tax due thereon
with respect to the portion of such Straddle Period ending on the Closing Date at least thirty (30)
days before such Tax Return is due. If Stockholder objects to Buyer's calculation of the portion
of such Tax with respect to the portion of such Straddle Period ending on the Closing Date,
Stockholder shall within fifteen (15) days of receipt of such Tax Return notify Buyer of such
objection. The parties shall attempt to resolve such dispute prior to the due date of such Tax
Return and if unable to resolve such dispute prior to the due date of such Tax Return, the dispute
shall be referred to the Tax Arbitrator, who shall resolve the dispute. If necessary. Buyer shall
seek any available extensions to delay filing the Tax Return to resolve such disputes.
Notwithstanding the foregoing, if the dispute is not resolved, the Tax Return shall be filed by
such Tax Return's due date (including extensions) as proposed by Stockholder, unless the Tax
Arbitrator determines that it is more likely than not that penalties would be proposed by the
relevant taxing authority if the Tax Return is filed as requested or Stockholder,.

                 Section 4.   Buyer's Covenants

               (a)     With respect to any Pre-Closing Tax Period, Straddle Period, Stub Period
or Post-Closing   Tax Period,   Buyer covenants that it will not, nor will it permit any of the
Transferred Entities that it then controls to, make or change any Tax election, amend any Tax
Return, take any Tax position on any Tax Return or take any new action (including a change in
the pricing of related party sales, services, royalties or other payments or allocations subject to
Section 482 of the Code) that results in an increased Tax liability (including any increase
resulting from a reduction of any Tax credits) in respect of any Pre-Closing Tax Period, Straddle
Period or Stub Period, except with the express written consent of the Stockholder.

                 (b) Buyer agrees that Stockholder shall not be liable for any Adverse
Consequences resulting from any action referred to in Section 4(a), and the Buyer agrees to
indemnify and hold the Stockholder harmless against any such Adverse Consequences.
Notwithstanding anything contained herein to the contrary, the Parties agree that the monetary
remedy provided by this Section 4(b) shall be the exclusive remedy of the Stockholder in the
event of any Breach by the Buyer of Section 4(a).

                 Section 5.   Seller's Covenants

               (a)    With respect to any Post-Closing Period or Straddle Period, the
Stockholder covenants that he will not, nor will he cause any Transferred Entity then within his
control to, make or change any Tax election, amend any Tax Return, take any Tax position on
any Tax Return or take any new action (including a change in the pricing of related party sales,


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 services, royalties, or other payments or allocations subject to Section 482 of the Code) that
 results in an increased Tax liability (including any increase resulting from a reduction of any Tax
 credits) in respect of any Post-Closing Tax Period or Straddle Period, except with the express
 written consent of Buyer.

                 (b)  The Stockholder agrees that Buyer shall not be liable for any Adverse
 Consequences resulting from any action referred to in Section 5(a) and the Stockholder agrees to
 indemnify and hold the Buyer harmless against any such Adverse Consequences.
 Notwithstanding anything contained herein to the contrary, the Stockholder and Buyer hereby
 agree that the monetary remedy provided by this Section 5(b) shall be the exclusive remedy of
 the Buyer in the event of any Breach by the Stockholder of Section 5(a).

                 Section 6.    Cooperation on Tax Matters

                 (a)  Stockholder and Buyer shall furnish or cause to be furnished to the other,
upon request, as promptly as practicable, such information (including access to books and
records) and assistance relating to the Transferred Entities as is reasonably necessary for the
filing of any Tax Return, the preparation for any Tax audit, the prosecution or defense of any
claim, suit or proceeding relating to any proposed Tax adjustment for which Stockholder or
Buyer may have liability under this Agreement and for the performance by Stockholder and
Buyer of their respective obligations under this Agreement Stockholder and Buyer shall keep all
such information and documents received by them confidential unless otherwise required by law.

               (b)     Buyer agrees to retain or cause to be retained all books and records
pertinent to the   Transferred Entities that are in its control until the applicable period for
assessment of Taxes under   applicable law (giving effect to any and all extensions or waivers) had
expired, and to abide by and cause the Transferred Entities to abide by, all record retention
agreements entered into with any Taxing Authority. Buyer agrees to give the Stockholder
reasonable notice prior to transferring, discarding or destroying any such books and records
relating to Tax matters and, if so requested. Buyer shall allow the Stockholder to take possession
of such books and records.

               (c)    Buyer and Stockholder shall cooperate with each other in the conduct of
any audit or other proceedings for any Tax purposes and each of Buyer and Stockholder shall
execute and deliver such powers of attorney and other documents as are necessary to cany out
the intent of this Agreement.

                (d)   To the extent as a result of an audit or otherwise additional amounts
becoming owing for Income Taxes or Other Taxes for any Pre-Closing Tax Period, any
calculation of Adverse Consequences shall take into account the timing of any future allowed
deductions which may be disallowed during the Pre-Closing Tax Period.


                Section 7.    Indemnification Procedures

                (a)    All amounts paid under this Agreement, shall be characterized for Tax
purposes as an adjustment to the purchase price.



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                 (b)    Any claim by either Party for indemnification for Adverse Consequences
 under this Agreement shall be made by notifying the other Party and following the procedures set
 forth in this Agreement No Party hereto shall have any liability for the payment of any Adverse
 Consequences to the extent attributable to or resulting from any action taken by the other Party,
 its Subsidiaries or Affiliates, in contravention of such Party's covenants nereunder.

                 (c)    (i)     Notice of Claims. If any Taxing Authority or other third party
 shall notify any Party (the "Indemnified Party") with respect to any matter which may give rise
to a claim for indemnification (a "Third Party Claim") against the other Party (the "Indemnifying
Party") under Sections 2 and 3 of this Agreement, then the Indemnified Party shall promptly
provide written notice to the Indemnifying Party setting forth reasonable detail as to such Third
Party Claim (a "Notice of Claim"). It shall be a condition to indemnification hereunder that the
Notice of Claim be delivered promptly and be received by the Indemnifying Party prior to the
time the Indemnifying Party's ability to contest the Third Party Claim would be materially
impaired by such lack of notice or delay. If the Indemnified Party fails to meet the foregoing
condition then it shall have waived all rights to indemnification with respect to such Third Party
Claim.

                       (ii)    Defense of Third Party Claims.


                              (A)     The Indemnifying Party may and shall be deemed to
undertake the defense of a Third Party Claim unless the Indemnifying Party delivers notice to the
contrary to the Indemnified Party not later than the earlier of (i) sixty (60) calendar days after
receipt by the Indemnifying Party of the Notice of Claim or (ii) fifteen (15) calendar days prior to
the first required date of response to a Third Party Claim.


                              (B)     If the Indemnifying Party undertakes the defense of any
Third Party Claim,  it  shall  control the investigation and defense thereof, except that the
Indemnifying Party shall not require the Indemnified Party without the Indemnified Party's prior
written consent (such consent not to be unreasonably withheld or delayed), to take or refrain
from taking any action in connection with such Third Party Claim, or make any public statement
that it reasonably considers to be against its interest, nor shall the Indemnifying Party, without
the prior written consent of the Indemnified Party (such consent not to be unreasonably withheld
or delayed), consent to any settlement that requires the Indemnified Party to make any payment
that is not fully indemnified under this Agreement; and subject to the Indemnifying Party's
control rights, the Indemnified Party may participate in such investigation and defense, at its own
expense, including, but not limited to, the right to attend (with counsel) all proceedings
connected with such Third Party Claim and receive copies of any correspondence received or
sent in connection with such Third Party Claim.




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                                (C)  If the Indemnifying Party does not undertake the defense of
 aThird Party Claim the Indemnified Party shall control such investigation and defense and may
 consent to the entry of any judgment or enter into any settlement with respect to the Third Party
 Claim in any manner it may deem reasonably appropriate (and the Indemnified Party need not
 consult with, or obtain any consent from, the Indemnifying Party in connection therewith),
 except that the Indemnified Party shall not require the Indemnifying Party without the
 Indemnifying Party's prior written consent, to take or refrain from taking any action in
 connection with such Third Party Claim, or make any public statement that it reasonably
 considers to be against its interest, nor shall the Indemnified Party, without the prior written
 consent of the Indemnifying Party (such consent not to be unreasonably withheld or delayed),
consent to any settlement that requires the Indemnifying Party to make any payment under this
Agreement and subject to the Indemnified Party's control rights, the Indemnifying Party may
participate in such investigation and defense, at its own expense, including, but not limited to, the
right to attend (with counsel) all proceedings connected with such Third Party Claim and receive
copies of any correspondence received or sent in connection with such Third Party Claim.


                               (D)   In the event that a Third Party Claim as to which Sellers are
the Indemnifying Party is part of a larger proceeding also involving a   Third Party Claim as to
which Buyer is the Indemnifying Party, Buyer and Sellers shall use their reasonable best efforts
to segregate such Third Party Claims so that the control provisions of Sections 7(d)(ii)(A), (B)
and (C) may be applied separately as to each such Third Party Claim.

                               (E)    Buyer and Stockholder shall make available to each other,
their counsel and other representatives, all information and documents reasonably available to
them which relate to any Third Party Claim, and otherwise cooperate as may reasonably be
required in connection with the investigation and defense thereof.


                 Section 8.    Refunds

                 (a)    Stockholder.To the extent requested by Stockholder and at the sole
expense of Stockholder, Buyer shall as promptly as practicable claim any refunds relating to
Taxes for which the Stockholder is responsible. If, after the Closing Date, Buyer receives any
refund relating to Taxes for which the Stockholder is responsible. Buyer shall promptly transfer,
or cause to be transferred, the amount of such refund (net of any reasonable expenses incurred by
the Buyer in obtaining such refund, including Income Tax liability directly arising from the
receipt of such refund, if any) to Stockholder.

                 (b)    Buyer. Buyer shall be entitled to receive and retain any refunds of Tax
relating to the Transferred Entities with respect to any Post-Closing Tax Period.

                 Section 9.    Survival: Tax Sharing Agreements.

              (a)    Survival. Notwithstanding anything to the contrary in this Agreement, and
notwithstanding anything to the contrary in the Stock Purchase Agreement, the representations,




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 covenants and obligations of the Parties set forth in this Agreement shall be unconditional and
 absolute and shall remain in effect until the expiration of the applicable statute of limitations.

               (b)    Termination of Tax Sharing Agreements.           Neither Buyer nor any
 Transferred Entity shall have any liability with respect to any agreement or arrangement with
respect to the allocation or sharing of Taxes that may have been entered into by the Transferred
Entities on or before the Closing Date. Stockholder shall indemnify and hold Buyer harmless
with respect to any obligation under any such agreements.

                  Section 10.      General

                 (a)   Amendment. This Agreement may be amended, modified, superseded or
canceled, and any of the terms hereof may be waived, only by a written instrument specifically
referring to this Agreement and specifically stating that it amends, modifies, supersedes or
cancels this Agreement or waives any of its terms, executed by all parties (or, in the cause of a
waiver, by the party waiving compliance). Except to the extent set forth herein, the failure of any
party at any time or times to require performance of any provision of this Agreement shall in no
manner affect such parties' right at a later time to enforce the same. No waiver by any party of
any Breach of any term contained in this Agreement in any one or more instances shall be
deemed to be or construed as a further or continuing waiver of such Breach, or a waiver of any
Breach of any other term.

                 (b)  Interpretation. The Section headings contained in this Agreement are for
convenient reference only, and shall not in any way affect the meaning or interpretation of this
Agreement.

              (c)     Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of Kansas, excluding the conflict of laws provisions thereof
that would otherwise require the application of the law of any other jurisdiction.

              (d)      Counterparts. This Agreement may be executed in multiple counterparts,
each of which shall be an original, but all of which shall constitute but one agreement.

                 (e)  Assignment. This Agreement shall not be assignable by any party hereto
without the consent of both Buyer (or its designated agent) and Stockholder, except as set forth
in this Subsection (e). This Agreement shall be binding upon and inure to the benefit of the
Parties hereto and their respective successors and permitted assigns, but no assignment or
delegation by any party of any of its obligations under this Agreement shall operate to discharge
that party from its obligations.

                 (f)Merger. This Agreement shall be construed as if all provisions of the
Stock Purchase Agreement not explicitly excluded are included in the Agreement, and the Stock
Purchase Agreement shall be construed as if all provisions of the Agreement are included in the
Stock Purchase Agreement. Consistent with the foregoing, the provisions of the Agreement and
the Stock Purchase Agreement shall be interpreted to constitute a single integrated agreement
without duplicative provisions, and, in the event that any provision of the Stock Purchase


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      Agreement conflicts with any provision of this Agreement with respect to Taxes, this Agreement
1;    shall be controlling.

                     (g)     Notices.    All notices, requests, demands and other communications
      required or permitted to be given hereunder shall be deemed to have been duly given if in writing
      and sent, delivered, or telecopied to:

                                           Stockholder:


                                           Dennis M. Langley
                                           13137 Thundemead Falls Lane
                                           Rapid City, SD 57702
                                           Telephone: (605)355-9746
                                                   And to:
                                          Tino Monaldo, Chtd.
                                          335 North Washington, Suite 130
                                          Hutchinson, Kansas 67501
                                          Telephone:         (316)669-9338
                                          Telecopier:        (316)665-5961

                                          with a copy to:


                                          Thomas W. Van Dyke, Esq.
                                          Bryan Cave LLP
                                          7500 College Boulevard, Suite 1100
                                          Overland Park, Kansas 66210
                                          Telephone:    (913)338-7700
                                          Telecopier:       (913)338-7777

                                          Buyer:
                                          K-Pipe Merger Corporation
                                          c/o SCALP
                                          750 Lexington Ave., 30th Floor
                                          New York, New York
                                          Telephone:  (212)826-0770
                                          Telecopier:       (212) 826-0077


                                          with a copy to:
                                          Howard Teig, CPA
                                          510 Jericho Turnpike, Suite 320
                                          Jericho, New York 11753
                                          Telephone:        (516)931-5506
                                          Telecopier:       (516)931-5327




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               All such notices, requests, demands or communications shall be sufficient and
effective upon personal delivery, or upon confirmation of the receipt of the applicable telecopy or
one Business Day after delivery to a reputable overnight carrier for next Business Day delivery,
or three (3) days after the date on which the notice is deposited in the United States mail,
registered or certified with return receipt requested and proper postage prepaid.

              IN WITNESS WHEREOF, Stockholder and Buyer have executed or caused this
Agreement to be duly executed as of the date first above written.




                                                      Dennis M. Langley




                                                     K-Pipeline Merger Corporation




                                                     By_
                                                     Title:




                                                10
KC01451003.M                                                                                    ENB 00994




                                                                                                      EM001-007474
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                                            Schedule 3.1


                                 Stockholder's Closing Deliveries


1.       Tax Sharing Agreement
2.       Stock Certificate(s) with stock powers attached
3.       Certificate of Fulfillment of Conditions Precedent by Stockholder
4.       FIRPTA Certificate that Stockholder is not a foreign person




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                                           Schedule 3.2


                                   Buyer's Closing Deliveries

1.       Tax Sharing Agreement
2.       Certificate of Fulfillment of Conditions Precedent by CEO or President of Buyer
3.       Preliminary Cash Consideration
4.       Certified Resolutions of Buyer Approving the Transaction
5.       Opinion Letter ofLeBoeuf, Lamb, Greene & MacRae




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                                              PURCHASE AGREEMENT
                                           COMPANY DISCLOSURE SCHEDULE


                                                                                              SCHEDULE 5.1(b)


                                                        Schedule 5.1(b)
                                              Calculation of Adjustment Value

 Definitions:

            Adjustment Amount          =
                                           Adjustment Value minus S25.000.


         Adjustment Value the sum of the positive working capital accounts of the company on the Tme-up Date
                                   =



minus the sum of the negative working capital accounts. The balances of positive and negative working capital
accounts to be determined in accordance with generally accepted accounting principals.


            True-up Date    =
                                The Closing Date defined herein.

                 Positive Working Capital Accounts

                   Cash: All cash, currency on hand, money market funds, cash held as margin requirement and
                 excess equity in the MarGasCo gas futures account, commercial paper and other cash or cash
                 equivalents of the Company; except, for purposes of the calculation of the Adjustment Amount, the
                 $10,000,000 (ten million dollar) principal balance in the Cash Reserve Account held in the name of
                 Syenergy Pipeline Company, L.P. shall not be considered part of the Cash accounts nor any other
                 component of working capital of the Company.

                   Accounts Receivable: All accounts receivable of the Company and all Affiliates accrued as of
                 the True-up Date less the sum of those accounts receivable more than 90 days from the True-up
                 Date and Allowance for Doubtful Accounts less than 90 days from the True-up Date. Buyer will
                 compensate Seller for any Accounts Receivable accrued as of the True-up Date and ultimately
                 collected from any source that were originally excluded from the calculation of Adjustment Value.


                   Accrued Interest Earned: Accrued interest earned as of the True-up Date for all cash accounts
                 of the Company and all Affiliates including all interest credited to the Cash Reserve Account held in
                 the name of Syenergy Pipeline Company, L.P. representing any balance in the account in excess of
                 the $10,000,000 principal balance.


                    Gas Marketing Contracts and Futures Account: The net unrealized gain/(loss) on the True-up
                 Date of all natural gas contracts held in the MarGasCo's Gas Futures account and MarGasCo gas
                 sales contracts. If account has a net unrealized loss, account represents a negative working capital
                 account.

                  Prepaid Expenses: The sum of all working capital accounts representing the payment for goods
                and/or services that will be provided subsequent to the True-up Date. Prepaid Expenses will
                specifically include the S100,000.00 paid by Kansas Pipeline Company to Flight Options, Inc.
                pursuant to the Flight Options Binder Agreement dated October 1999.




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               Negative Working Capital Accounts

              Accounts Payable: all accounts payable of the Company and all Affiliates accrued as of the
            True-up Date representing payments owed for goods and/or services received prior to the True-up
            date but not yet paid. In no event shall any commission or any other payments due Chase Securities
            for their participation in this stock sale be considered as pan of the Adjustment Value Calculation.


               Accrued Interest Payable: accrued interest payable as of the Closing Date on all Company and
            all Affiliates debt including but not limited to the Revolving Credit Agreement with Chase
            Manhattan Bank and the MarGasCo revolving Credit Agreement with Chase Manhattan Bank.
            Accrued Interest Payable will not include any Make Whole Premium on the Syenergy Pipeline
            Company's $91 million Senior Secured Debt- Accrued Interest through October 29, 1999 on the
            Syenergy Pipeline Company's $91 million Senior Secured Note in the amount of $1,987,973.53 has
            been included as a reduction to the Preliminary Cash Consideration and will not be a reduction to
            the Adjustment Value. Accrued Interest Payable will be increased $16,705.66 for each day Closing
            is after October 29, 1999. Accrued Interest Payable will be decreased £16,705.66 for each day
            Closing is before October 29,1999.


              Natural Gas Purchases: Accrued natural gas purchases as of the True-up Date for the Company
            and all Affiliates.


              Over/Under Retained Compressor Fuel and Lost and Unaccounted for Gas: The net balance
            of accrued fuel reiainage subject to FERC Fuel Adjustment less actual compressor fuel and lost and
            accounted for gas subject to FERC Fuel Adjustment.


              Accrued Income Taxes: Accrued federal and state income taxes of the Company and all
            Affiliates as of the True-up Date less all estimated income taxes paid. Accrued Income taxes shall be
            estimated as of the True-up Date for purposes of calculating the Adjustment Value such estimates to
            be revised in preparation of the Revised Adjustment Value..


              Accrued Property Ta^es: accrued property taxes payable for the Company and all Affiliates as
            of the True-up Date based on the 1999 property tax assessments.

               Other Accrued Liabilities: the sum of all other working capital accounts representing payments
            owed for goods and services received prior to the True-up Date not yet paid including, but not
            limited to, accrued payroll and benefits payable, trade accounts payable and accrued
            legal/professional fees.




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 Positive Working Capital Accounts

            Cash                                                                                                   200.000.00

             Accounts Receivable
                Total Accounts Receivable                                                       5.324.247.21
                Less: Accounts Receivable in excess of 90 day from Tnic-up Dale                           (1.694317.92)
                Less: Total Allowance for Doubtful Account                                       (794.532.96)
                      Allowance for Doubtfiil Accounts in excess of 90 days from True-up Date                         694.000.00
________Plus:
 Net Accounts Receivable:                                                                        3.529.396J3       3.529.39633

 Accrued Interest Earned                                                                                              45,000.00

 Net Unrealized Gain/(Loss) in Gas Futures Account                                                                   4S9.500.00

 Other Prepaid Expenses                                                                                              394,000.00


 Total Positive Working Capital Adjustment                                                                         4.657,896.33



 Negative Working Capital Accounts

Accounts Payable                                                                                                  (2,190.1611.00)


Accrued Interest Expense                                                                                             (18,000.00)
Natural Gas Purchases
(800.000.00)
Over Retainage of Compressor Fuel subject to refund                                                                  (212,000.00)

Accrued Income Taxes
          Accrued Income Tax Expense                                                            (1,640,000)
          Estimated Income Taxes Paid                                                            1.650.000
            Net Accrued Income Taxes                                                                 10,000              10.000

Accrued Property Taxes                                                                                               (480,000.00)

Other Accrued Liabilities                                                                                           (240,000.00)

Total Negative Working Capital Adjustment                                                                         (3,930,168.00)


Adjustment Value                                                                                                     727.728.00


Working Capital Allowance in Purchase Price
(25,000)

Adjustment Amount                                                                                                    702.728J3




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                                    PURCHASE AGREEMENT
                                COMPANY DISCLOSURE SCHEDULES

                                                                                      SECTION 5.4A


                                                 Schedule 5.4A

                                                Excluded Assets


 The below described property constitutes the Excluded Assets:

 Real Estate

 (1)        Real estate located in Reno County, Kansas more fully described as follows:

            A tract in the Northwest Quarter (NW/4) of Section 13, Township 23 South,

            Range 6 West of the 6*           described as follows:
                                             P.M.,                 Commencing at the
            intersection of the north line of Section 13, Township 23 South, Range 6 West of
            the 6* P.M., and the West line of Washington Street; thence West 260 feet for a
            place of beginning; thence south 104 feet; thence West parallel with the north line
            of Section 234.8 feet to a point on the east line of Adams Street that is 139 feet
            south of the south line of Fourth Avenue West; thence north 29 feet to a point 110
            feet south of south line of Fourth Avenue West; thence east parallel with Fourth
            Avenue 65 feet; thence north 10 feet thence east parallel with Fourth Avenue 50
            feet; thence north 100 feet to a point on the south line of Fourth Avenue that is
            115 feet east of Adams Street; thence east on the south line of Fourth Avenue 120
            feet; thence south 31.2 feet to the place of beginning the same being a part of the
            Northwest Quarter (NW/4) of Section 13, Township 23 South, Range 6 West of
            the 6^ P.M., and part of Reserve #5 of Miller and Smith's Addition to the City of
            Hutchinson.

(2)         Tracts of real estate located in Johnson County, Kansas more fully described as follows:


            Tract II described as follows:


            The South 50 feet of the East 203.29 feet of the South Vi of the West V* of the
            Northwest V* of the Southwest 1/4 of Section 5, Township 12 South, Range 24
            East, Johnson County, Kansas


            Tract III described as follows:

            All of the South Vi of the West % of the Northwest VA of the Southwest VA of
            Section 5, Township 12, South, Range 24 East, Johnson County, Kansas, being
            more particularly described as follows: Beginning at the Southwest comer of the



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            Northwest VA of the Southwest V*; thence North 00 degrees 15 minutes 56 seconds
            West along the West line of the Northwest V& of the Southwest Vs. of said Section
            5, 661.55 feet to the Northwest comer of the South Vi of the Northwest '/< of the
            Southwest % of said Section 5; thence North 89 degrees 22 minutes 32 seconds
            East along the North line of said South Vi, 989.95 feet to the Northeast comer of
            the South Vi of the West % of the Northwest % of the Southwest '/4 of said
            Section 5; thence South 00 degrees 35 minutes 57 seconds East along the East line
            of the South Vi of the West % of the Northwest */4 of the Southwest V< of said
            Section 5; 662.22 feet to the Southeast comer of the South Vi of the West VA of the
            Northwest V«, of Southwest '/< of said Section 5, thence South 89 degrees 24
            minutes 54 seconds West along the South line of the Northwest Vi of the
            Southwest '/4, said line also being the North line of QUIVIRA ESTATES, a
            subdivision of land in Johnson County, Kansas, 993.80 feet to the point of
            beginning, subject to that part in Renner Road, EXCEPT Beginning 230 feet West
            of the Southeast comer of the North Vi of the West % of the Northwest 'A of the
            Southwest V* of Section 5, Township 12 South, Range 24 East; thence Southerly
            parallel to the East line of the South '/< of said West %, 512.0 feet; thence
            Westerly, parallel to the South line of said South Vi, 300.00 feet; thence Northerly,
            parallel to the East line of said South Vi, 511.86 feet to the North line of said
            South Yt; thence East along said North line to the point of beginning AND the
            West 155 feet of the North 110 feet of the South Vi of the West y< of the
            Northwest '4 of the Southwest '/4 of said Section 5, Township 12, Range 24.
            ALSO EXCEPT:

            The South 50 feet of the East 203.29 feet of the South Vi of the West % of the
            Northwest V* of the Southwest Vi of Section 5, Township 12 South, Range 24
            East.




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 (3)     The Easement Agreement dated July 30, 1998 between the Pueblo of Isleta and The
 Bishop Group, Ltd. and any and all related exhibits thereto and all attendant rights and interests
 related thereto, as amended, including, but not limited to, all legal and equitable rights in and to
 New Mexico rights of ways and interests as set forth in Easement and Right of Way executed
 with the Pueblo of Isleta and any and all rights to any potential project arising out of or relating
 thereto (New Mexico Easement), including, but not be limited to the following:


            An eighty (80) foot wide parcel of land located on trust lands of the Pueblo in
            Bemalillo and/or Torrance and/or Valencia County, New Mexico, to be used as
            right of way, as more particularly identified in the New Mexico Easement; and


            An eighty (80) foot wide parcel of land belonging to the Pueblo of Isleta in the
            state of New Mexico known as Comanche Ranch, as more particularly described
            in the New Mexico Easement.


Companies:

(4)         2,000 Shares of Common Stock of E & C Group, Inc. (100% wholly owned by The
            Bishop Group, Ltd.).

(5)         260 Shares of Common Stock of The Bishop Corporation owned by E & C Group, Inc.

(6)         99.9% of the limited liability interests in Bishop Rink Holdings, LLC

(7)         99.9% of the limited liability interests in KP Operating Company, LLC

(8)         Life Insurance Policies:

BMA Whole Life Policy #40056779
BMA Term Policy #40056777
BMA Whole Life Policy #40056776 (owned by Dennis Langley)

(9)         Promissory Note owned by The Bishop Group, Ltd. from Dennis M. Langley dated
            March 30. 1999 in the principal amount of $265,000, with accrued interest.

(10)        All available cash contained in accounts owned by The Bishop Group, Ltd., E & C
            Group, Inc., The Bishop Corporation, Management Resources Group, Ltd. n/k/a Bishop
            Management, Inc., Syenergy Pipeline Company, L.P-, Bishop Pipeline Company, Kansas
            Pipeline Company, Kansas Pipeline Partnership, Mid-Kansas Partnership, MarGasCo
            Partnership, KansOk Partnership, Riverside Pipeline Company, L.P., Bishop Rink
            Holdings, LLC., and KP Operating Company, LLC other than that cash necessary to
            leave $25,000 in working capital as set forth in the Purchase Agreement as of the Closing




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            of this transaction; provided however. The Debt Service Cash Reserve Account will
            remain in place.

 (11)       A Cessna 421 plane. Serial No. 421B0385, owned by The Bishop Group, Ltd.


 (12)       The Project Development Agreement dated November 27,1996, between Management
            Resources Group, Ltd. (n/k/a Bishop Management, Inc.) and KN Energy, Inc.

 (13)       All office furniture, fixtures, copiers, faxes, equipment,    computers (software and
            hardware) vehicles used by any personnel who work at the Administrative Offices (i.e.
            8325 Lenexa Drive, Lenexa, Kansas and 5225 Renner Road, Shawnee, Kansas) and all
            other personal property located at the Administrative Offices except for the items listed
            below:

            (i)    Computer hardware and software necessary to update the SCADA System,
                   System Control and the Electronic Bulletin Board, including personal computers,
                   disk drives, monitors and license agreements located at 8325 Lenexa Drive as
                   well as the following lease agreements:

                   (A)     Canon Copier Lease for NP4050;

                   (B)     Canon Copier Lease for NP6070; and

                   (C)     Postage Meter Scale.

            (ii)   All field office equipment, computers, faxes, phones, copiers, furniture and
                   supplies located at any and all KPC field offices, such as Pawnee, OK; Ottawa,
                   KS; Medicine Lodge, KS; Beaumont, KS; and 'Wichita, KS (and not the
                   Administrative Offices); all pipe and equipment inventory, mobile phones for
                   field employees and the following vehicles owned or leased by KPC for field
                   employee use:

                               Make/Model               Vehicle I.D. Number

                         1997 Ford F150 Pickup        1FTDX18WXVKD06162
                         1998 Ford F150 XL            1FTZX18W6WKB93396
                         1999 Ford 250 XLT            1FTNX21S5XED 10879
                         SuperCab
                         1997 Ford Explorer XLT       1FMDU34E8VUB32867
                         1998 Ford F150               1FTZX18W1WKB56029
                         1995 Ford Chassis Cab        1FDKF38G2SEA74063
                         1998 Chevy Kl 500 Ext.       1 GCEK19M4WE220166

                         Cab
                         1999 Ford F150 pickup        1FTRX18W9XNC32045
                         1991 Ford F250 Pickup        1FTHF26HOMLA21431
                         1997 Ford 150 Pickup         1FTDX18WIVKD06163



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                         1995 Ford Chassis Cab              1FDKF38G1SEA74068
                         1999 Ford F150 Pickup              1FTRX18WXXKB54764
                         1999 Ford Fl 50                    1FTRX18W3XKB02098
                         1998 Ford F150                     1FTZXI8WXWKB72230
                         1999 Ford Explorer                 1FMZ434E8XZB30354
                         1999 Ford F350w/crane              1FDWF37S1XEC32729
                         1998 Ford F150                     1FZX18W1WKB56028
                         1999 Ford F250                    1FTNX21L4XED84285
                         1999 Ford F250 Pickup             1FTNX21L6XEB96707
                         1999 Dodge Ram                    1B7HF13Y2XJ649134
                         1999Ford.F150                 -   1FTRX18WOXKB40727
                         1999 Ford F350w/crane             1FDWF37SXXEC32728
                         1980 Ford F600 2 ton              F60HVJD1451
                         pickup
                         1999 Ford F250 Ottawa             1FTNF21L8XEB65686
                         Spare
                         1999 F350w/crane                  1FDWF37S8KEC32727
                         1998 Ford F150 Pickup             1FTZX18W4WKB93395
                         1998 Ford Explorer                1FMZU34XXWZA77754
                         1998 Chevy K1500 Pickup           1GCEK19M4WE220166
                         1998 Chevy K1500 Pickup           1GCEK19R1WE224588
                         1996 Wells Fargo EW2355           1WC200E20T2029278
                        Trailer
                         1990 Croft Standard               GC 12981
                        Trailer
                         1989 Air Comp./Trailer            180519U89330
                        Combo
                        1989 SUN Trailer-Style             I54CH1629KT003166
                        HT
                         1994 Trailer (Utility)            KS 114867
                         1997 Blah-Trailer                 1B9GDFU58V1072178
                         1999 Load Trailer                 4ZEGF2522X1125391

            (iii)   License Agreement and software for JD Edwards Accounting Package.

(14)        The following vehicles being distributed to Stockholder:

                                  Make/Model                 Vehicle I.D. Number


                        1997 Ford F150 Pickup              1FTDX1865VKA12863
                        1997 Ford Explorer XLT             1FMDU34EOVUB02133
                        1999 Ford F150 Lariat              1FTRX18L4XKB52918
                        1995 Chevrolet Lumina              2G1WL5M9S9283949
                        1988 Jaguar                        SAJHV164XJC524116
                        1997Lexus400                       JT8BH28FOV0074224



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                          1991 Lexus 250                  JT8W22T1M0135776
                          2000 Lincoln                    1LNHM8655YY755412
                          1995 Chevy Blazer               1GNDT13W9SK179300
                          1995 OldsmobUe                  1G3GR62CXS4134802
                          1995 Ford 250 Pickup            1FTHX26H85SKB80603
                          1990Blair20ft.4GNFB             1B9GDF54L1072016

                          Two Four wheelers

                          One Bobcat


                         Excavator—Model Melroe
                         16677 with 2 buckets


                         Backhoe Case Model 580
                         Super E

                         Lincoln ArcWelder
                         ModelNo.SA200F163

                         Pacer Pump Model
                         w/Briggs Stratton Engine


                         Goodal Electric Parts
                         Washer




(15)        All rights to the Kansas City Chiefs and Kansas City Royals season tickets.

(16)        Causes of Action:


A.          Any and all causes of action, tort or breach of contract, or otherwise, held by Company
            and/or its Affiliated Entities against Western Resources, Inc. and/or OneoK, Inc. or their
            Affiliated Entities arising out of or related to the failure of Western Resources, Inc. to sell
            Company and/or its Affiliated Entities the gas local distribution company assets and
            business which is now KGS, a division of OneoK, Inc. (hereafter "Causes of Action").


            Buyer agrees, if requested by Stockholder, to pursue these Causes of Action (on behalf of
            Stockholder, BGL, KPC, Mid-Kansas, MarGasCo, BPC, BGT, Syenergy, KPP, KOP
            and/or Riverside (collectively "Petitioners"), by filing a lawsuit, making witnesses and
            records available, going to trial and appeal, if necessary, all as may be determined within
            the sole discretion of Stockholder, even after the Closing of this Agreement.




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             Stockholder or his designees shall make all decisions regarding the drafting of any
             lawsuit(s), pleadings, selection of legal counsel and experts, the jurisdiction and venue of
             filing, witnesses, discovery, trial, appeal, and/or settlement and all other aspects of
             prosecuting the Causes of Action. Buyer shall take no action, nor cause others to take
             any action regarding the Causes of Action without the written consent of Stockholder.

            Stockholder shall pay and/or reimburse Buyer for all of its actual costs and fees to
            prosecute these Causes of Actions ("Costs") at the time such costs are incurred by Buyer.
            Any judgment or settlement monies collected by Buyer on behalf of the Petitioners shall
            first go to reimburse Buyer for such Costs, and then the remaining proceeds shall be paid
            to Stockholder within fifteen (15) days after its receipt by Buyer. The monies received, if
            any, by Stockholder shall be deemed additional payment to Stockholder for the partial
            redemption of his BGL shares prior to Closing.

            If at any time, before or after Closing, it is determined within Stockholder's sole
            discretion, that part or all of these Causes of Action can be assigned by the Petitioners to
            Stockholder and pursued by Stockholder directly, and Stockholder requests such an
            assignment from Buyer and/or Petitioners, then Buyer and/or Petitioners shall assign,
            without warranty, any and all such assignable Causes of Action to Stockholder, and will
            cooperate fully with Stockholder as described above, at Stockholder's sole cost if
            Stockholder prosecutes said assigned Causes of Action, as well as non-assigned Causes
            of Actions.

            B.    An additional cause of action relating to the Reimbursement by KNI described in
            Schedule 6.8 of this Company Disclosure Schedule ("Reimbursement by KNI"). If this
            receivable is not collected or converted to cash prior to Closing, the Company or Buyer
            shall, if requested by Stockholder, cause Petitioners to pursue this Reimbursement by
            KNI on behalf of Stockholder and Petitioners by filing a lawsuit, making witnesses and
            records available, going to trial and appeal, if necessary, all as may be determined within
            the sole discretion of Stockholder, even after the Closing of this Agreement.

            Stockholder or his designees shall make all decisions regarding the drafting of any
            lawsuit(s), pleadings, selection of legal counsel and experts, the jurisdiction and venue of
            filing, witnesses, discovery, trial, appeal, and/or settlement and all other aspects of
            prosecuting the Reimbursement by KNI. Buyer shall take no action, nor cause others to
            take any action regarding the Reimbursement by KNI without the written consent of
                                                                                                           L

            Stockholder.

            Stockholder shall pay and/or reimburse Buyer for all of its actual costs to prosecute these
            Reimbursement by KNI at the time such costs are incurred by Buyer. Any judgment or
            settlement monies collected by Buyer on behalf of the Petitioners shall first go to
            reimburse Buyer for such Costs, and then the remaining proceeds shall be paid to
            Stockholder within fifteen (15) days after its recipient by Buyer. The monies received, if
            any, by Stockholder shall be deemed additional payment to Stockholder for the partial
            redemption of his BGL shares prior to Closing.




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            If at any time, before or after Closing, it is determined within Stockholder's sole
            discretion, that part or all of these Reimbursements by KNI can be assigned by the
            Petitioners to Stockholder and pursued by Stockholder directly, and Stockholder requests
            such an assignment from Buyer and/or Petitioners, then Buyer and/or Petitioners shall
            assign, without warranty, any and all such assignable Reimbursements by KNI to
            Stockholder, and will cooperate fully with Stockholder as described above, at
            Stockholder's sole cost if Stockholder prosecutes said non-assigned Reimbursements by
            KNI, as well as non-assigned Reimbursements to KNI.




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                                                                                     Schedule 5.4B


                                STOCK REDEMPTION AGREEMENT


                THIS     AGREEMENT          (herein "Agreement") made this               day of
                                                                                  ____
                              1999, by and between The Bishop Group, Ltd., a Kansas corporation
        __________,
        (hereafter the "Company") and Dennis M. Langley on behalf of himself and as Voting
        Trustee of all of said shares pursuant to that Voting Trust Agreement dated June 2, 1986,
        as amended (hereafter the "Stockholder").


            WHEREAS, Stockholder owns 161,733.2625 shares of the issued and outstanding
       common stock of the Company; and

               WHEREAS, me Company desires to redeem certain shares of the common stock
       of Company owned by the Stockholder, all in accordance with the terms and conditions
       of this Agreement; and

                WHEREAS, the transaction is one in a series of transactions that ultimately will
       result in the Stockholder ultimately disposing of 100% of his stock of the Company and
       this Agreement would not be entered into but for the Stock Purchase Agreement whereby
       Stockholder will dispose of all the remainder of his stock of the Company.


               NOW, THEREFORE, the undersigned for the mutual promises and covenants
       expressly contained herein, agree as follows:
\'<

               1.  SALE OF STOCK. Stockholder shall assign, sell and transfer to
       Company 13,005.2625 shares of common stock of the Company (the "Shares").

               2.      PURCHASE PRICE. In consideration for the Shares, Company agrees
       to transfer all of Company's right, title and interest in and to the assets set forth on
       Exhibit A hereto to the Stockholder (the "Assets").      The agreed upon values for the
       Assets are set forth on Exhibit A.


               3.      REPRESENTATIONS.

                    A.       Representations of Company. Company is a corporation duly
       organized, validly existing and in good standing under the laws of the State of Kansas.
       Company has the power to execute and deliver this Agreement and to cany out the
       transactions hereunder contemplated.


                    B.        Stockholder's Representations. Stockholder represents that he is
       the owner, beneficially and of record, and that he is transferring the Shares hereunder and
       clear of any liens, claims or encumbrances.


               4.     COVENANTS. Company agrees to deliver to Stockholder all books,
       records, surveys, data, documents, files and all other information relating to the Assets of




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 Company's business or its properties or assets stored on any electronic media, including
 computers.


         5.    CLOSING. The transfer and exchange provided for in this Agreement
 (the "Closing") shall take place at the offices of Bryan Cave, 3500 One Kansas City
 Place, 1200 Main Street, Kansas City, Missouri, commencing at 10:00 sun. on                   .



 1999, or on such other date or such other place as the parties may mutually agree (such
 date is called the "Closing Date"). At the Closing:


                  A.    Company shall transfer to Stockholder the Assets.


                  B.    Stockholder shall transfer to Company the Shares duly endorsed
 for transfer.



       6.     SUCCESSORS AND ASSIGNS. Neither party shall assign its rights
under this Agreement or the attachments hereto without the prior written consent of the
other.


        7.     MODIFICATIONS AND AMENDMENTS.                         Any changes in the,
provisions of this Agreement made subsequent to its execution shall be made by formal,
written and executed amendments.         It is stipulated that oral modifications and
amendments hereto shall not be    binding  and that no evidence of oral amendments or
modifications shall be admissible during arbitration or adjudication.


       ,8.      AGREEMENT SUBJECT TO LAWS. If any provision of this
Agreement or    the application thereof to any party or any circumstance shall be found to
be contrary to, or inconsistent with or unenforceable under any law, rule, regulation or
order, the latter shall control and this Agreement shall be deemed modified accordingly,
but the remainder of this Agreement and the application of such provisions to the other
parties or circumstances shall not be affected thereby, and in all other respects this
Agreement shall continue in full force and effect.


            9.    COSTS.   If any legal action or other proceeding is brought for the
enforcement or interpretation of any of the rights or provisions of this Agreement, or
because of an alleged dispute, breach, default or misrepresentation in connection with any
of the provisions of this Agreement, the successful or prevailing party shall be entitled to
recover reasonable attorneys' fees and all other costs and expenses incurred in that action
or proceeding, in addition to any other relief to which it may be entitled.


            10.   AGREEMENT GOVERNED BY THE LAWS OF KANSAS.                            This
Agreement shall be governed by and construed in accordance with the internal laws, and
not the laws pertaining to choice or conflict of laws, of the State of Kansas.




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       11.    ADDITIONAL DOCUMENTS. At Closing, Company shall execute,
 acknowledge and deliver or cause to be delivered to Stockholder a bill of sale and such
 other assignments and other instruments of transfer and conveyance, in form and
 substance reasonably satisfactory to Stockholder, and take such other action as
 Stockholder shall reasonably deem to be necessary or desirable to vest in Stockholder all
 right, title and interest in and to the Assets.


        12.     WAIVER.         Each party reserves the right to waive, in whole or in part,
 any provision hereof  which  is for the benefit of that party, and such waiver shall not be
 construed as creating a course of conduct which prevents it from refusing to waive other
 provisions and/or the same-provisions thereafter.


        ,13.    ENTIRE AGREEMENT.             This Agreement cancels, merges and
 supersedes all prior and contemporaneous understandings and agreements relating to the
 subject matter of this Agreement, written or oral, between the parties hereto and contains
 the entire agreement of the parties hereto, and the parties hereto have no agreements,
 representations or warranties relating to the subject matter of this Agreement which are
 not set forth herein. This Agreement shall not be amended, modified or supplemented in
 any manner whatsoever except as otherwise provided herein or in writing signed by each
 of the parties hereto.

         14.  USE OF ASSETS. To the extent any of the Assets being transferred
 hereunder are office furniture, equipment or the like and located at property leased by
 Company, Company shall maintain use and possession of such assets and shall fully
 insure them at their current level of insurance. Company shall redeliver possession of
 such Assets to Stockholder at their present location or at such other location as to which
 the Stockholder and the Company may mutually agree upon no later than September 30,
 2000. During Company's possession and use of such Assets, Company shall cause such
 Assets not to waste and shall maintain them in reasonable working condition, normal
wear and tear accepted. Company shall not remove any such Assets from their current
location without the express prior written consent of Stockholder. Company will pay all
personal property taxes related to such Assets while such Assets are in the possession of
 Company.

            15. FURTHER ASSURANCES. The parties hereby acknowledge that the
transfer of the Assets will likely not be complete as of the date hereof and as a result,
Company hereby agrees to execute, acknowledge and deliver, and cause each of Bishop
Gas Transmission Company, a Kansas corporation, Syenergy Pipeline Company, L.P., a
Kansas limited partnership, Kansas Pipeline Company, a Kansas general partnership, and
MarGasCo Partnership, an Oklahoma general partnership (collectively, the "Affiliates"),
to execute, acknowledge and deliver, at Stockholder's sole expense, any further writings,
documents, transfers, acknowledgments, instruments, powers of attorney, authorizations,
filings, applications, reports, etc. that Stockholder shall reasonably deem to be necessary
to vest in Stockholder all right, title and interest in and to the Assets and to take such
further actions that Stockholder shall reasonably deem to be necessary to fulfill



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  Company's obligations set forth herein. Should the Company or any of the Affiliates fail
  to take any action required by this Section, the parties hereto recognize that Stockholder
  •will be entitled to cause a court to order specific performance and require the Company or
  such Affiliate to take this required action and the Company and the Affiliates agree not to
  oppose a specific performance order (once the court determines that a requested action is
  required by this Agreement).

             16.   COUNTERPARTS.         This Agreement may be executed in multiple
  counterparts, each of which shall be in an original, but all of which shall be deemed to
  constitute one instrument This Agreement or any document executed in connection
  herewith shall be binding upon such signator party, if said signature is delivered by
  telecopier or other like transmission.

          17. SEVERABILITY. Any provision of this Agreement which is invalid, illegal
 or  unenforceable in any jurisdiction shall, as to that jurisdiction, be ineffective to the
 extent of such invalidity, illegality, or unenforceability, without affecting in any way the
 remaining provisions hereof in such jurisdiction or rendering that or any other provision
 of this Agreement invalid, illegal or unenforceable in any other jurisdiction.




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          IN WITNESS WHEREOF, the parties have hereunto set their hands the day and
  year first written above, or consent to the terms hereof, as if executed on such date.

                                                     COMPANY:

                                                     The Bishop Group, Ltd.



                                               By:
                                                     Title: Vice President



                                                     STOCKHOLDER:




                                                     Dennis M. Langley on behalf of
                                                     himself and as Voting Trustee of all
                                                     of said shares pursuant to that Voting
                                                     Trust Agreement dated June 2, 1986,
                                                     as amended




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                                                            EXHIBIT A

                                                                                           Fair
                                                                                          Market
                                           Asset                               VIN         Value
 1.    Reno County, Kansas Real Estate                                                      $15,580
 2.    Johnson County, Kansas Real Estate                                                  $702,000
 3.    New Mexico ROWs                                                                     $600,000
4.     Common Stock of E&C Group, Inc.                                                                 -




5.     Common Stock of The Bishop Corporation                                                          -




6.     Bishop Rmk Holdings, LLC Interests                                                 $657,208
7.     KP Operating Company, LLC Interests                                               $1.023,397
8.     BMA Whole Life Policy                                                                $14,000
       BMA Term Policy #40056777                                                             $2,607
       BMA Whole Life Policy #40056776 (DML                                                $14,000
       Owned)
9.  DML Promissory Note to BGL                                                            $310,147
10. Available Cash of BGL et al                                                          $6,200,000
ll.Cessna421.BGL                                                                           $188,768
12. MRG, Ltd. Project Development Agreement                                                        -




13. Administrative Office Furniture & Fixtures
      Furniture/Fixtures:
      8325 Lenexa Dr.-Funuture & Fixtures                                                 $150,000
      5225 Renner-Fumiture/Fixtures                                                       $126,403

      Computers/Office Equipment:
      8325 Lenexa Dr.-Funuture/Fixtures                                                    $80,000
      5225 Renner-Fumiture/Fixtures                                                        $40.000
      Vehicles:
      1997 Lexus LS400-Dennis                                      JT8BH28FOV0074224       $29,245
      1988 Jaguar XJ6  Dennis
                           -
                                                                   SAJHV164XJC524I16        $2,515
      1999 F-150 Lariat-Eve                                        1FTRX18L4XKB52918       $14,530
      1997 Ford f-150 Pickup                                       1FMDU34EOVUB02133       $10.540
      1995 Olds. Aurora Lyn    -                                   1G3GR62CXS4134802        $6,095
      1995 F-250-Diesel Tank                                       1FXTHX26H85SKB0603       $6,215
      1991 Lexus ES 250-Pool Vehicle                               JT8VVT1M0135776          $3.840
      2000 Lincoln LS Yvette
                           -                                       1LNHM8655YY755412       $26,000
      1997 Explorer XLT JShaffer       -                           1FMDU340VUB02133        $13,570
      1995 Chevy Blazer            -
                                               JBullimore          1GNDT13W9SK179300        $6,930
      1995 Chevy Lumina                    -
                                                Vince              2G1WL5M9S9283949         $3.475
      1990 Blair 20 ft 4GTNFB Nooseneck Trailer                    1B9GDFK54L 1072016        $400
       Power Equipment:
       Bobcat   -
                    Excavator w/2 buckets                          512916677               $30,000



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      Bobcat   -   Skid Steer                      514112585               $15,500
      Case 580 Rubber Tired Backhoe                                         $6,000
     Log Splitter                                                            S750
     All-Terrain Vehicle 1998 Purchase
                                -
                                                                            54,500
     AU-Tenain Vehicle 1999 Purchase
                                -                  478TE2244Y4105504        $6,437
     Lincoln ArcWelder, Model SA200F163                                     $1,500
     Pacer Pump Model w/Briggs & Stratton                                     $500
     Goodal Electric Parts Washer                                            $500
14. Kansas City Chiefs/Royals season rickets                                 $800
15. Legal Claims                                                                 -




                                           TOTAL                       $10,313,952




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                                          PURCHASE AGREEMENT
                                      (COMPANY DISCLOSURE SCHEDULE



                                                                                      SECTION 9.2


            "


   .                                                SectioiB 9.2
                          Employees or Non-Employees which'Stoclkholder Indemnifies Buyer
                                         against as to Severance Obligations


                1.          Dennis M. Langley
                2.          Steve Korb
                3.          LynetteShaw
                4.          BrandonGlenn
                5.          TraceyLebeau
                6.    .     Frank LaMere (Non-Employee)                         •




                7.          Howard Lubow
                8.         Yvette Korb
                9.         Nate Beyer d/b/a Brown Dog (Non-Employee)
                10.        Wallace McKinney
                11.        Tino Monaldo, Chtd. (Non-Employee)
                With respect to Overland Consulting, Inc. ("OCI"), at or before Closing OCI shall
                12.
have forever released and waived all of its rights described in the last two sentences of paragraph
4 of its Consulting Agreement with KPC and its Affiliated Entities, dated April 1, 1997,
regarding its option to terminate said Consulting Agreement in the event of a "change of control"
as defined therein.




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                                            GUARANTY
                                                  (KPC)


                 FOR VALUE RECEIVED, Kansas Pipeline Company, a Kansas general
 partnership (the "Guarantor") hereby unconditionally and irrevocably guaranties to Dennis Langley
 ("Langley"), his heirs, transferees and assigns, the due and punctual performance and discharge by
K-Pipe Merger Corporation ("Parent") of all of Parent's liabilities, obligations, covenants and
agreements contained in Sections 8.10, 8.11 and 5.4 (and the Schedules and the Agreements
referenced in Section 5.4) of the Stock Purchase Agreement, dated October 25, 1999 between
Langley and Parent, subject to all time, monetary and other limitations set forth in said Stock
Purchase Agreement The foregoing Guaranty shall not create any greater liability of Guarantor to
Langley than Parent has to Langley pursuant to said Stock Purchase Agreement Guarantor further
agrees to pay any and all out-of-pocket expenses (including attorneys' fees) which may be paid or
incurred by Langley in enforcing any rights under this Guaranty. This Guaranty is an absolute,
unconditional and continuing guaranty of the full and punctual payment and performance by the
Parent of the obligations and liabilities described herein and not ofcollectability only and is in no
way conditioned upon any requirement that Langley first attempt to collect any amounts due and
owing from the Parent or any other party primarily or secondarily liable with respect thereto or
resort to any security or other means of obtaining payment of any amounts due and owing to
Langley or upon any other contingency whatsoever.

                 The Guarantor hereby waives promptness, diligence and notice as to the obligations
and covenants contained herein and acceptance of this Guaranty, and waives any other
circumstance which might otherwise constitute a legal or equitable discharge, release or defense of
a guarantor or surety, or that might otherwise limit the obligations of the Guarantor hereunder. The

Guarantor hereby agrees that it shall not be entitled to consent to, or receive any notice of, any
amendment or modification of, or waiver, release, consent or extension with respect to, or
assignment of any agreement giving rise to any obligation guaranteed hereunder, and the Guarantor
hereby acknowledges that any such amendment, modification, waiver, release, consent, extension
or assignment shall not affect the Guarantor's obligations hereunder. The Guarantor hereby agrees
that this Guaranty shall automatically be reinstated if and to the extent that for any reason any
payment of the Parent or on behalf of the Parent is rescinded or must otherwise be restored, whether
the result of any proceedings in bankruptcy or reorganization or otherwise.

               The Guarantor also agrees as follows:

               1.      Cv Pres. The doctrine of Cy Pres shall be applicable to this Agreement
such that in interpreting the terms and conditions hereunder the intentions of the Guarantor and
the beneficiaries hereof are to be carried out as near as may be, when it would otherwise be
impossible or illegal to give it literal effect In any dispute arising out of this Agreement, the
doctrine ofCy Pres shall be applied.


                2.      Agreement Governed bv the Laws of Kansas. This Agreement and the
obligations of the Guarantor hereunder, shall be interpreted, construed, and enforced in accordance
with the laws, and not the laws pertaining to choice or conflict of laws, of the state of Kansas.


               3.      Agreement Subject to Laws. If any provision of this Agreement or the
application thereof to any party or any circumstance shall be found to be contrary to, or
inconsistent with or unenforceable under any law, rule, regulation or order, the latter shall control

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 and this Agreement shall be deemed modified accordingly, but in other respects this Agreement
 shall continue in fall force and effect, subject to the modifications necessary to preserve the
 intent and considerations due the parties as set forth in this Agreement


                 4.       Severability. Any provision of this Agreement which is invalid, illegal or
unenforceable in any    jurisdiction shall, as to that jurisdiction, be ineffective to the extent of such
invalidity, illegality, or unenforceability,  without affecting in any way the remaining provisions
hereof in such jurisdiction or rendering that or any other provision of this Agreement invalid,
illegal or unenforceable in any other jurisdiction.


                5.     Jurisdiction and Venue. Any suit, action or proceeding with respect to,
arising under or in connection with this Agreement or the enforcement may be brought in any
court in Kansas. The Guarantor hereby submits to the jurisdiction and venue of any and all such
courts for the purpose of any such suit, action or proceeding.


               6.      Further Assurances. The Guarantor hereby agrees to execute,
acknowledge and deliver to each other any further writings, documents, transfers,
acknowledgments, instruments, powers of attorney, authorizations, filings, applications, reports,
etc. that may be reasonably required to give full force and effect to the provisions of this
Agreement.


Dated: November 2,1999.




                                                KANSAS PIPELINE COMPANY

                                        By:      Syenergy Pipeline Company, L.P.,
                                                its General Partner

                                        By:     Bishop Pipeline Company,
                                                its General Pai




                                                   Name^" Howard E. Lubow
                                                   Title: Executive Vice President




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                                            OCTTON AGREEMENT
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                         THIS OPTION AGREEMENT ("Agreement") is entered into as of the 24th day
     of October, 1999, by and between Management Resources Group, LLC ("MRG"), Kansas
     Pipeline Company, a Kansas general partnership ("KPC"), and MarGasCo Partnership, an
     Oklahoma general partnership ("MGC").

                  WHEREAS, on the date first written above, MGC and MRG executed a Project
     Development Agreement (the "PDA P)

                  WHEREAS, on the date first written above, KPC and MRG executed a Project
     Development Agreement and MRG Interest Agreement (the "PDA II"),

                   WHEREAS, the parties desire to enter into an agreement to define their rights,
    duties and obligations under the PDA I and PDA II;

                         NOW, THEREFORE, in consideration of the promises and covenants contained
    herein, the parties agree as follows:

                         1.    PDA I. The PDA I shall be deemed effective as of the date first written
    above, unless KPC does not exercise its Option Rights during the Option Period described
    below, in which event the PDA I shall then be deemed automatically terminated ab initio, as if it
    never existed.

                         2.    PDA H. The PDA II shall be deemed effective as of the date first written
    above if KPC does not exercise its Option Rights during the Option Period described below. If
    KPC exercises its Option Rights during the Option Period, then the PDA II shall be deemed
    automatically terminated ab initio as if it never existed. If KPC does not exercise its Option
    Rights during the Option Period, then the PDA II shall become effective, retroactively, as of date
    first written above, including all payments and obligations due thereunder, as if the PDA U has
    been in effect from the date first written above (i.e any payment which would have been due
    under the PDA II during the Option'Period or specific performances due during the Option
    Period, shall become immediately due upon the expiration of this Option Period if the Option
    Rights are not exercised).

                   3.      Option Rights of KPC.          KPC shall have the option, but not the
    obligation, to elect to cancel and  terminate  the PDA   II ("Option Rights") for a period of time
    ("Option  Period") from the date first written above, until 5:00 central time, January 31, 2000. To
    exercise its Option Rights, KPC shall notify: (i) MRG in writing pursuant to the notice
    provisions set forth in Section 4(c) below at any time during the Option Period; and (ii) make
    payment to MRG of $10,750,000.00 in certified funds, or other liquid assets including, but not
    limited to, publicly tradable securities or stocks, which KPC and MRG may mutually agree to in
    writing with said payment being made contemporaneously with KPC's notification described in
    subsection (i) above. Should KPC fail to exercise its Option Rights during the Option Period, the
    Option Rights shall automatically terminate immediately upon the expiration of the Option
    Period without any further action necessary by any party hereto.



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                 4.    Moratorium. Prior to January 31,2000, the Parties agree that no Proj ects
(as defined in both PDA I and PDA n) shall be proposed or initiated by any Party unless
otherwise mutually agreed to in writing by the Parties.


                 5.     General Provisions.

                     (a)     Amendments. Except as otherwise provided for herein, any
       changes in the provisions of this Agreement made subsequent to its execution shall be
       made by formal, written and mutually executed amendments. It is stipulated that oral
       modifications and amendments hereto or other parole evidence shall not be binding and
       that no evidence of oral amendments or modifications shall be admissible during
       arbitration or other adjudication.

                      (b)     Waiver. Waiver of any provision of this Agreement or of any
       breach hereof shall be a waiver of only said specific provision or breach and shall not be
       deemed a waiver of any other provision or any future breach hereof.

                      (c)  Notices. All notices, documents, or other communications to be
      given hereunder shall be in writing and shall be deemed validly given if delivered by
      messenger, facsimile transmission (with a confirming copy sent by overnight courier), or
      express overnight delivery, or sent by certified mail, return receipt requested, as follows:

                                If to the MRG, to
                                Dennis M. Langley
                                13137 Thunderhead Falls Lane
                                Rapid City, SD 57702
                                Telephone No: (605)355-9746
                                Telecopier: (316)665-5961


                      and to:

                                Tino Monaldo, Chtd.
                                335 North Washington, Suite 130
                                Hutchinson, Kansas 67501
                                Telephone:    (316)669-9338
                                Telecopier:(316) 665-5961

                      and:


                                IftoKPCorMGC,to

                                MarGasCo Partnership
                                Kansas Pipeline Company
                                8325 Lenexa Drive, Suite 400
                                Lenexa,KS66214




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                            Telephone: (913) 888-7139
                            Telecopier: (913)599-5645


     or such other persons or addresses as may be designated in writing by the party to receive
     such notice. Any notice delivered by messenger shall be deemed received when such
     delivery is tendered; notices sent by facsimile transmission shall be deemed received
     upon faxed confirmation of receipt; notices mailed in the manner provided above, shall be
     deemed received on the third day after such are postmarked; and notices delivered by
     other methods shall be deemed received when actually received by the addressee or its
     authorized agent.

                    (d)    Governing Law. Jurisdiction: Venue. This Agreement shall be
    governed by, and construed and enforced in accordance with, the Laws of the State of
    Kansas, without giving effect to the principles of the conflicts of law thereof. The parties
    agree that the Federal Court of the District of Kansas shall have exclusive jurisdiction and
    venue to hear and determine any claims or disputes between the parties, pertaining
     directly or indirectly to this Agreement, any additional agreements or in connection with
    this Agreement.       Each party expressly submits and consents in advance to such
    jurisdiction in any action or proceeding commenced in such courts, hereby waiving
    personal service of the summons and complaint or other process or papers issued therein
    and agreeing that service of such summons and complaint or other process or papers may
    be made by registered or certified mail addressed to the relevant party at the address set
    forth in Section 4(c), which service shall be deemed made upon receipt thereof. The
    exclusive choice of forum set forth in this Section shall not be deemed to preclude the
    enforcement of any judgment obtained in such forum or the taking of any action under
    this Agreement to enforce the same in any appropriate jurisdiction.

                   (e)     Entire
                                Agreement.      This Agreement constitutes the entire
    agreement and understanding of the parties with respect to the matters covered hereby
    and supersedes any and all prior agreements, representations and understandings relating
    to the subject matter hereof.

                   (f)     Construction.The section headings contained in this Agreement
    are inserted for convenience of reference only and shall not affect the meaning or
    interpretation of this Agreement. The preamble hereof, the recitals hereto, and all
    schedules attached hereto are hereby incorporated herein by reference and made a part
    hereof.

                   (g)     Binding Effect. This Agreement shall be binding upon and inure
    to the benefit of  the parties, and their respective successors and assigns, to the extent
    allowed hereby. Nothing in this Agreement, express or implied, is intended to or shall
    confer upon any other person any rights, benefits or remedies of any nature whatsoever
    under or by reason of this Agreement.

                   (h)    Assignment. None of the parties may assign any rights or delegate
    any obligations provided for in this Agreement without the prior written consent of all the




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    other parties, -which consent shall not be unreasonably withheld. Any assignment in
    violation of the preceding sentence shall be void- Subject to (he preceding sentence, this
    Agreement will be binding upon, inure to the benefit of, and be enforceable by, the
    parties and their respective successors and assigns. The assignment of the PDA I or the
    PDA n shall be governed by the PDA I and/ or PDA n, respectively.

                    (i)     Counterparts.This Agreement may be executed in multiple
    counterparts, each of which shall be in an original, but all of which shall be deemed to
    constitute one instrument This Agreement or any document executed in connection
    herewith shall be binding upon such signator party, if said signature is delivered by
    telecopier or other like transmission.

                  Q)    Obligations of Subsidiaries. Whenever this Agreement requires a
    Subsidiary of the Company to take any action, such requirement shall be deemed to
    include an undertaking on the part of the Company to cause such Subsidiary to take such
   action.

                   (k)  Severability. The provisions of this Agreement shall be deemed
   severable and the invalidity or unenforceability of any provision shall not affect the
   validity or enforceability or the other provisions hereof. If any provision of this
   Agreement, or the application thereof to any person or any circumstance, is invalid or
   unenforceable, (a) a suitable or equitable provision shall be substituted therefor in order
   to carry out, so far as may be valid or enforceable, the intent and purpose of such invalid
   or unenforceable provision and (b) the remainder of this Agreement and the application of
   such provision to other Persons or circumstances shall not be affected by such invalidity
   or unenforceability, nor shall such invalidity or unenforceability affect the validity or
   enforceability of such provision, or the application thereof, in any other jurisdiction. The
   doctrine of Cy Pres shall be applicable to the Agreement such that in interpreting the
   terms and conditions hereunder the intentions of the parties are to be carried out as near
   as may be, when it would otherwise be impossible or illegal to give it literal effect. In
   any dispute arising out of this Agreement, the doctrine ofC>' Pres shall be applied by the
   Court.

                    (1)     Costs and Fees.      In connection with litigation related to this
   Agreement    (regardless  of whether the action alleges breach of contract, tort, violation of a
   statute, or any other cause of action), the  prevailing party will be entitled to recover from
   the nonprevailing party its reasonable costs in bringing or defending such claims,
   including its reasonable attorneys' fees, accounting fees, professional and/or expert
   witness fees, court costs,    and travel and out-of-pocket expenditures incurred in
   preparation for and during such proceedings. If a party prevails on some aspects of its
   claims but not on others, the court shall apportion any award of costs in bringing or
   defending such claims in such manner as it deems equitable.

                   (m)   Breach, Notice and Cure. In the event that either party believes the
   other party is in breach of the terms hereof for any reason(s), it shall provide written



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    notice of such purported breach(s) describing such breach(s) with particularity (in fact
    and in legal impact) and the purported breaching party shall be granted thirty (30) days
    from its actual receipt of such notice to cure said breach(s) if it concurs that the acts or
    omissions described in the notice(s) constitute breach(s), or it may elect to provide a cure
    to the complaining party's contended breach(s) even if the purported breaching party is of
    the belief that the acts or omissions described in the notices) do not constitute a
    breach(s) hereof; and if so cured by the purported breaching party to the reasonable
    satisfaction of the complaining party, the breach(s) shall be deemed to have never
   occurred. In the event the parties cannot agree as to whether the acts or omissions
   described in the notice(s) constitute a breach(s) of the terms hereof, and the purported
   breaching party does not elect to cure the alleged breaches to the reasonable satisfaction
   of the complaining party, then the parties may pursue any legal remedies they may have.

                   (n)    Definitions.   Any capitalized words shall have the meaning
   attributed to said words given it in the Company Agreements, unless otherwise defined
   herein specifically.

                    (o)    Further Assurances.         The parties hereby agree to execute,
   acknowledge and deliver to each other any further writings, documents, transfers,
   acknowledgments, instruments, powers of attorney, authorizations, filings, applications,
   reports, etc. that may be reasonably required to give full force and effect to the provisions of
   this Agreement, and to take such further actions reasonably required in fulfillment of
   obligations set forth herein or in furtherance of the intent hereof.




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                  IN WITNESS WHEREOF, the parties affix their signature effective the date first
 written above.

                                       MRG:          Management Resources Group, LLC




                                                    ^JL^fs^s ^<b(^
                                                     Name: "C^nrn s, n~>. (Ana|<
                                                                          6'  J
                                                     Title: ^re^di^r


                                      KPC:           Kansas Pipeline Company
                                                                              *



                                                     By:    Syenergy Pipeline Company, L.P.,
                                                            its general partner


                                                    By:     Bishop Pipeline Company, L.P., its
                                                            general partner




                                                    By:    JJ^&C^L
                                                    Name:
                                                           y^
                                                           Vnfl
                                                                  C
                                                                    K^
                                                                  C^or^,
                                                    Title:      Qtji^dj^'

                                      MGC:          MarGasCo Partnership

                                                    By:    Syenergy Pipeline Company, L.P.,
                                                           its general partner


                                                           Bishop Pipeline Company,
                                                    By:                                  L.P., its
                                                           general partner



                                                    By:
                                                    Name:  _^_______
                                                           ^^f    'rd (F. Lu to /-•

                                                    Title: £vea«-h»^ V.ct Pre.»«i(^




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               CERTIFICATE OF AMENDMENT OF ARTICLES OF INCORPORATION
                                         OF
                                THE BISHOP GROUP, LTD.

                        The undersigned- The Bashop Group, Ltd., a Kansas corporation (the
    "Corporation"), for the purpose of amending the Articles of Incorporation of the Corporation, in
    accordance with the General Corporation Code of Kansas, does hereby make and execute this
    Certificate of Amendment of Articles of Incorporation and does hereby certify that:


                         1.        The amendment of the Articles of Incorporation proposed by the directors
    and adopted by the stockholders of the Corporation is as follows:


                                                        ARTICLE ONE

                                  The name of the corporation is K-Pipe Group, Inc.


                    2.     The said amendment has been duly adopted by written consent of the
    stockholders in accordance with the provisions of Section 17-6518 of the Kansas Statutes Annotated.


                   IN WITNESS WHEREOF, this Certificate of Amendment has been executed by
    the Corporation by its President and attested by its Secretary on this (^^- day of October, 1999.

                                                        The Bishop Group, Ltd.

•   [CORPORATE SEAL]                                    By
                                                               ^^^^———_______________
                                                             -z>-?
                                                                  Dennis M. Langley, President
    ATTEST:

     [ApfalCk4iA
    Yvfcfte C. Korb. Secretary
        \^

    STATE OF            M^^-^                   )
                                                ) SS.
                              1

    COUNTY OF U3W^\                             )

                        BE IT REMEMBERED, that on this          )^~aav of October. 1999, before me. the
    undersigned, a      Notary Public in and for said County and Stale, personally appeared Dennis M.
    Langley and Yvette C. Korb, who declared that they are the President and Secretary, respectively, of
    the corporation named in the foregoing certificate, and acknowledged that they executed the
    foregoing certificate on behalf of the corporation.


    [NOTARIAL SEAL]
                                                                Notary Public
    My Commission Expires:
        Dianna 1_ Wood. Notary Public
               State of Kansas
     MvnnmmiGoion CAUJ.^ ———— /(-I ^                ^


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       This Amendment Agreement ("Amendment") is entered into effective this jy"-day
of October, 1999, by and between Kansas Pipeline Company ("KPC") and Overland
Consulting, Inc., a Kansas corporation ("Consultant" or "OCI").

          WHEREAS, OCI executed a Consulting Agreement dated April 1, 1997, with
Kansas Pipeline Operating Company ("KPOC"), Kansas Pipeline Partnership ("KPP"),
KansOk Partnership ("KOP") and Riverside Pipeline Company, LJP. ("Riverside")
hereafter called the "Consulting Agreement"; and

          WHEREAS, the parties desire to amend the Consulting Agreement

         NOW, THEREFORE in consideration of the promises and covenants contained
herein and for other good and valuable consideration contained herein, the parties agree as
follows:


      1.     Assumption. KPC assumes all the rights, dudes and obligations of KPOC,
KPP, KOP and Riverside under the Consulting Agreement.


       2.      Consent.        OCI hereby accepts and consents to the substitution of and
assumption  by KPC   of all of the rights, duties and obligations of KPOC, KPP, KOP and
Riverside under the Consulting Agreement


         3.      Amendment Paragraph 4 of the Consulting Agreement is hereby deleted
in its entirety and a new Paragraph 4 is substituted in its stead and shall read as follows:


           "4.   TERM. This Agreement shall commence April 14, 1997, and shall
           terminate on April 13, 2001. This Agreement may be terminated at any
           time by OCI in which case OCI, shall be required to provide services
           hereunder to the Pipelines for a period of time equal to no less than
           ninety (90) days after OCI's notice of termination; if so requested by the
           Pipelines; provided however, if requested by the Pipelines, OCI will
           provides services requested for longer than ninety (90) days if it relates
           to any ongoing regulatory proceedings for which OCI is providing
           services.


        4.     Ratification. Other than the specific changes described herein, there are no
other changes, alterations or modifications to the proposed Consulting Agreement, which is
ratified and confirmed, along with this Amendment by the parties hereto.


         IN WITNESS WHEREOF, the parties affix their signatures hereto, effective the
date first written above.




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                                          KANSAS PIPELINE COMPANY

                                    By:   Syenergy Pipeline Company, L.P.,
                                          its general partner


                                    By:   Bishop Pipeline Company,
                                          its general partner


                                    By:
                                          Name Dennis M. Langley
                                          Title: President




                                   By:
                                          Name: Howard E. Lubow
                                          Title: President




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